     IN THE UNITED STATES DISTRICCT COURT, NORTHERN
         DISTRCOICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON,
VIKKI TOWNSEND CONSIGLIO,
GLORIA KAY GODWIN, JAMES
KENNETH CARROLL, , CAROLYN HALL            CASE NO.
FISHER, CATHLEEN ALSTON LATHAM,
and BRIAN JAY VAN GUNDY,


     Plaintiffs.
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official
capacity as Secretary of State and Chair
of the Georgia State Election Board,
DAVID J. WORLEY, in his official
capacity as a member of the Georgia
State Election Board, REBECCA
N.SULLIVAN, in her official capacity as
a member of the Georgia State Election
Board, MATTHEW MASHBURN, in his
official capacity as a member of the
Georgia State Election Board, and ANH
LE, in her official capacity as a member
of the Georgia State Election Board,
     Defendants.




      COMPLAINT FOR DECLARATORY, EMERGENCY, AND
            PERMANENT INJUNCTIVE RELIEF




                                 1
                          NATURE OF THE ACTION

       This civil action brings to light a massive election fraud, multiple

violations of Georgia laws, including O.C.G.A. §§ 21-2-30(d), 21-2-31, 21-2-

33.1 and §21-2-522, and multiple Constitutional violations, as shown by fact

witnesses to specific incidents, multiple expert witnesses and the sheer

mathematical impossibilities found in the Georgia 2020 General Election. 1

                                              1.

       As a civil action, the plaintiff’s burden of proof is a “preponderance of

the evidence” to show, as the Georgia Supreme Court has made clear that, “[i]

was not incumbent upon [Plaintiff] to show how the [] voters would have voted

if their [absentee] ballots had been regular. [Plaintiff] only had to show that

there were enough irregular ballots to place in doubt the result.” Mead v.

Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (2004) (citing Howell v. Fears,

275 Ga. 627, 571 S.E.2d 392 (2002).




1
   The same pattern of election fraud and voter fraud writ large occurred in all the swing
states with only minor variations, see expert reports, regarding Michigan, Pennsylvania,
Arizona and Wisconsin. (See William M. Briggs Decl., attached here to as Exh. 1, Report
with Attachment). Indeed, we believe that in Arizona at least 35,000 votes were illegally
added to Mr. Biden’s vote count.

                                              2
                                               2.

       The scheme and artifice to defraud was for the purpose of illegally and

fraudulently manipulating the vote count to make certain the election of Joe

Biden as President of the United States.

                                               3.

       The fraud was executed by many means, 2 but the most fundamentally

troubling, insidious, and egregious is the systemic adaptation of old-fashioned

“ballot-stuffing.” It has now been amplified and rendered virtually invisible

by computer software created and run by domestic and foreign actors for that

very purpose. Mathematical and statistical anomalies rising to the level of

impossibilities, as shown by affidavits of multiple witnesses, documentation,

and expert testimony evince this scheme across the state of Georgia.

Especially egregious conduct arose in Forsyth, Paulding, Cherokee, Hall, and

Barrow County. This scheme and artifice to defraud affected tens of

thousands of votes in Georgia alone and “rigged” the election in Georgia for

Joe Biden.




2
  50 USC § 20701 requires Retention and preservation of records and papers by officers of
elections; deposit with custodian; penalty for violation, but as will be shown wide pattern of
misconduct with ballots show preservation of election records have not been kept; and
Dominion logs are only voluntary, with no system wide preservation system.
                                              3
                                              4.

       The massive fraud begins with the election software and hardware

from Dominion Voting Systems Corporation (“Dominion”) only recently

purchased and rushed into use by Defendants Governor Brian Kemp,

Secretary of State Brad Raffensperger, and the Georgia Board of Elections.

Sequoia voting machines were used in 16 states and the District of Colombia

in 2006. Smartmatic, which has revenue of about $100 million, focuses on

Venezuela and other markets outside the U.S. 3

       After selling Sequoia, Smartmatic's chief executive, Anthony Mugica.

Mr. Mugica said, he hoped Smartmatic would work with Sequoia on projects

in the U.S., though Smartmatic wouldn't take an equity stake.” Id.

                                              5.

       Smartmatic and Dominion were founded by foreign oligarchs and

dictators to ensure computerized ballot-stuffing and vote manipulation to

whatever level was needed to make certain Venezuelan dictator Hugo Chavez

never lost another election. (See Redacted whistleblower affiant, attached as

Exh. 2) Notably, Chavez “won” every election thereafter.




3
 See WSJ.com, Smartmatic to Sell U.S. Unit, End Probe into Venezuelan Links, by Bob Davis,
12/22/2006, https://www.wsj.com/articles/SB116674617078557263
                                             4
                                        6.

      As set forth in the accompanying whistleblower affidavit, the

Smartmatic software was designed to manipulate Venezuelan elections in

favor of dictator Hugo Chavez:



      Smartmatic’s electoral technology was called “Sistema de Gestión
      Electoral” (the “Electoral Management System”). Smartmatic was a
      pioneer in this area of computing systems. Their system provided for
      transmission of voting data over the internet to a computerized
      central tabulating center. The voting machines themselves had a
      digital display, fingerprint recognition feature to identify the voter,
      and printed out the voter’s ballot. The voter’s thumbprint was linked
      to a computerized record of that voter’s identity. Smartmatic created
      and operated the entire system.

                                        7.

      A core requirement of the Smartmatic software design was the

software’s ability to hide its manipulation of votes from any audit. As the

whistleblower explains:

      Chavez was most insistent that Smartmatic design the system in a
      way that the system could change the vote of each voter without
      being detected. He wanted the software itself to function in such a
      manner that if the voter were to place their thumb print or
      fingerprint on a scanner, then the thumbprint would be tied to a
      record of the voter’s name and identity as having voted, but that voter
      would not be tracked to the changed vote. He made it clear that the
      system would have to be setup to not leave any evidence of the
      changed vote for a specific voter and that there would be no evidence
      to show and nothing to contradict that the name or the fingerprint or
      thumb print was going with a changed vote. Smartmatic agreed to
      create such a system and produced the software and hardware that


                                       5
      accomplished that result for President Chavez. (See Id., see also Exh.
      3, Aff. Cardozo, attached hereto)).

                                         8.

      The design and features of the Dominion software do not permit a

simple audit to reveal its misallocation, redistribution, or deletion of votes.

First, the system's central accumulator does not include a protected real-time

audit log that maintains the date and time stamps of all significant election

events. Key components of the system utilize unprotected logs. Essentially

this allows an unauthorized user the opportunity to arbitrarily add, modify,

or remove log entries, causing the machine to log election events that do not

reflect actual voting tabulations—or more specifically, do not reflect the

actual votes of or the will of the people. (See Hursti August 2019 Declaration,

attached hereto as Exh. 4, at pars. 45-48; and attached hereto, as Exh. 4B,

October 2019 Declaration in Document 959-4, at p. 18, par. 28).

                                         9.

      Indeed, under the professional standards within the industry in

auditing and forensic analysis, when a log is unprotected, and can be altered,

it can no longer serve the purpose of an audit log. There is incontrovertible

physical evidence that the standards of physical security of the voting

machines and the software were breached, and machines were connected to




                                        6
the internet in violation of professional standards and state and federal laws.

(See Id.)

                                         10.

      Moreover, lies and conduct of Fulton County election workers about a

delay in voting at State Farm Arena and the reasons for it evince the fraud.

                                         11.

      Specifically, video from the State Farm Arena in Fulton County shows

that on November 3rd after the polls closed, election workers falsely claimed

a water leak required the facility to close. All poll workers and challengers

were evacuated for several hours at about 10:00 PM. However, several

election workers remained unsupervised and unchallenged working at the

computers for the voting tabulation machines until after 1:00 AM.

                                         12.

      Defendants Kemp and Raffensperger rushed through the purchase of

Dominion voting machines and software in 2019 for the 2020 Presidential

Election 4. A certificate from the Secretary of State was awarded to Dominion




      4
           Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-
Constitution, AJC News Now, Credit: Copyright 2019 The Associated Press, June 2019.
https://www.ajc.com/blog/politics/georgia-governor-inks-law-replace-voting-
machines/xNXs0ByQAOvtXhd27kJdqO/




                                         7
Voting Systems but is undated. (See attached hereto Exh. 5, copy

Certification for Dominion Voting Systems from Secretary of State).

Similarly a test report is signed by Michael Walker as Project Manager but is

also undated. (See Exh. 6, Test Report for Dominion Voting Systems,

Democracy Suite 5-4-A)

                                                13.

       Defendants Kemp and Raffensperger disregarded all the concerns that

caused Dominion software to be rejected by the Texas Board of Elections in

2018, namely that it was vulnerable to undetected and non-auditable

manipulation. An industry expert, Dr. Andrew Appel, Princeton Professor of

Computer Science and Election Security Expert has recently observed, with

reference to Dominion Voting machines: "I figured out how to make a slightly

different computer program that just before the polls were closed, it switches

some votes around from one candidate to another. I wrote that computer

program into a memory chip and now to hack a voting machine you just need

7 minutes alone with it and a screwdriver." (Attached hereto Exh. 7, Study,

Ballot-Marking Devices (BMDs) Cannot Assure the Will of the Voters by

Andrew W. Appel Princeton University, Richard A. DeMillo, Georgia Tech

Philip B. Stark, for the Univ. of California, Berkeley, December 27, 2019). 5


5
 Full unredacted copies of all exhibits have been filed under seal with the Court and Plaintiffs
have simultaneously moved for a protective order.
                                                8
                                      14.

      As explained and demonstrated in the accompanying redacted

declaration of a former electronic intelligence analyst under 305th Military

Intelligence with experience gathering SAM missile system electronic

intelligence, the Dominion software was accessed by agents acting on behalf

of China and Iran in order to monitor and manipulate elections, including the

most recent US general election in 2020. This Declaration further includes a

copy of the patent records for Dominion Systems in which Eric Coomer is

listed as the first of the inventors of Dominion Voting Systems. (See

Attached hereto as Exh. 8, copy of redacted witness affidavit, 17 pages,

November 23, 2020).

                                      15.

      Expert Navid Keshavarez-Nia explains that US intelligence services

had developed tools to infiltrate foreign voting systems including Dominion.

He states that Dominion’s software is vulnerable to data manipulation by

unauthorized means and permitted election data to be altered in all

battleground states. He concludes that hundreds of thousands of votes that

were cast for President Trump in the 2020 general election were transferred

to former Vice-President Biden. (Exh. 26).




                                      9
                                             16.

       Additionally, incontrovertible evidence Board of Elections records

demonstrates that at least 96,600 absentee ballots were requested and

counted but were never recorded as being returned to county election boards

by the voter. Thus, at a minimum, 96,600 votes must be disregarded. (See

Attached hereto, Exh. 9, R. Ramsland Aff.).

                                             17.

       The Dominion system used in Georgia erodes and undermines the

reconciliation of the number of voters and the number of ballots cast, such

that these figures are permitted to be unreconciled, opening the door to ballot

stuffing and fraud. The collapse of reconciliation was seen in Georgia’s

primary and runoff elections this year, and in the November election, where

it was discovered during the hand audit that 3,300 votes were found on

memory sticks that were not uploaded on election night, plus in Floyd county,

another 2,600 absentee ballots had not been scanned. These “found votes”

reduced Biden’s lead over Donald Trump 6.




6
 Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark Niesse and
David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-thousands-of-georgia-
votes-missing-from-initial-counts/ERDRNXPH3REQTM4SOINPSEP72M/
                                             10
                                         18.

      Georgia’s election officials and poll workers exacerbated and helped,

whether knowingly or unknowingly, the Dominion system carry out massive

voter manipulation by refusing to observe statutory safeguards for absentee

ballots. Election officials failed to verify signatures and check security

envelopes. They barred challengers from observing the count, which also

facilitated the fraud.

                                         19.

      Expert analysis of the actual vote set forth below demonstrates that at

least 96,600 votes were illegally counted during the Georgia 2020 general

election. All of the evidence and allegation herein is more than sufficient to

place the result of the election in doubt. More evidence arrives by the day

and discovery should be ordered immediately.

                                         20.

      Georgia law, (OCGA 21-5-552) provides for a contest of an election

where:

      (1) Misconduct, fraud, or irregularity by any primary or election
      official or officials sufficient to change or place in doubt the result; . .
      . (3) When illegal votes have been received or legal votes rejected at
      the polls sufficient to change or place in doubt the result; (4) For any
      error in counting the votes or declaring the result of the primary or
      election, if such error would change the result; or (5) For any other
      cause which shows that another was the person legally nominated,
      elected, or eligible to compete in a run-off primary or election.


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                                         21.

         As further set forth below, all of the above grounds have been satisfied

and compel this Court to set aside the 2020 General Election results which

fraudulently concluded that Mr. Biden defeated President Trump by 12,670

votes.

                                         22.

         Separately, and independently, there are sufficient Constitutional

grounds to set aside the election results due to the Defendants’ failure to

observe statutory requirements for the processing and counting of absentee

ballots which led to the tabulation of more than fifty thousand illegal ballots.

                                 THE PARTIES

                                         23.

         Plaintiff Coreco Ja’Qan (“CJ”) Pearson, is a registered voter who

resides in Augusta, Georgia. He is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia. He has standing to

bring this action under Carson v. Simon, 2020 US App Lexis 34184 (8th Cir.

Oct. 29, 2020). He brings this action to set aside and decertify the election

results for the Office of President of the United States that was certified by

the Georgia Secretary of State on November 20, 2020. The certified results

showed a plurality of 12,670 votes in favor of former Vice-President Joe Biden

over President Trump.

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                                      24.

      Plaintiff Vikki Townsend Consiglio, is a registered voter who resides in

Henry County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      25.

      Plaintiff Gloria Kay Godwin, is a registered voter who resides in

Pierece County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      26.

      Plaintiff James Kenneth Carroll, is a registered voter who resides in

Dodge County, Georgia. He is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      27.

      Plaintiff Carolyn Hall Fisher, is a registered voter who resides in

Forsyth County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.

                                      28.

      Plaintiff Cathleen Alston Latham, is a registered voter who resides in

Coffee County, Georgia. She is a nominee of the Republican Party to be a

Presidential Elector on behalf of the State of Georgia.



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                                            29.

       Plaintiff Jason M. Shepherd is the Chairman of the Cobb County

Republican Party and brings this action in his official capacity on behalf of

the Cobb County Republican Party.

                                            30.

       Plaintiff Brian Jay Van Gundy is registered voter in Gwinnett County,

Georgia. He is the Assistant Secretary of the Georgia Republican Party.

                                            31.

       Defendant Governor Brian Kemp (Governor of Georgia) is named

herein in his official capacity as Governor of the State of Georgia. On or

about June 9, 2019, Governor Kemp bought the new Dominion Voting

Systems for Georgia, budgeting 150 million dollars for the machines. Critics

are quoted, “Led by Abrams, Democrats fought the legislation and pointed to

cybersecurity experts who warned it would leave Georgia's elections

susceptible to hacking and tampering.” And “Just this week, the Fair Fight

voting rights group started by [Stacy] Abrams launched a television ad

critical of the bill. In a statement Thursday, the group called it “corruption at

its worst” and a waste of money on “hackable voting machines.” 7




7
 Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-Constitution,
AJC News Now, Credit: Copyright 2019 The Associated Press, June 2019
                                            14
                                        32.

      Defendant Brad Raffensperger ("Secretary Raffensperger") is named

herein in his official capacity as Secretary of State of the State of Georgia and

the Chief Election Official for the State of Georgia pursuant to Georgia’s

Election Code and O.C.G.A. § 21-2-50. Secretary Raffensperger is a state

official subject to suit in his official capacity because his office "imbues him

with the responsibility to enforce the [election laws]." Grizzle v. Kemp, 634

F.3d 1314, 1319 (11th Cir. 2011). Secretary Raffensperger serves as the

Chairperson of Georgia's State Election Board, which promulgates and

enforces rules and regulations to (i) obtain uniformity in the practices and

proceedings of election officials as well as legality and purity in all primaries

and general elections, and (ii) be conducive to the fair, legal, and orderly

conduct of primaries and general elections. See O.C.G.A. §§ 21-2-30(d), 21-2-

31, 21-2-33.1. Secretary Raffensperger, as Georgia's chief elections officer, is

further responsible for the administration of the state laws affecting voting,

including the absentee voting system. See O.C.G.A. § 21-2-50(b).

                                        33.

      Defendants Rebecca N. Sullivan, David J. Worley, Matthew Mashburn,

and Anh Le (hereinafter the "State Election Board") are members of the State

Election Board in Georgia, responsible for "formulating, adopting, and

promulgating such rules and regulations, consistent with law, as will be

                                        15
conducive to the fair, legal, and orderly conduct of primaries and elections."

O.C.G.A. § 21-2-31(2). Further, the State Election Board "promulgate[s] rules

and regulations to define uniform and nondiscriminatory standards

concerning what constitutes a vote and what will be counted as a vote for

each category of voting system" in Georgia. O.C.G.A. § 21-2-31(7). The State

Election Board, personally and through the conduct of the Board's employees,

officers, agents, and servants, acted under color of state law at all times

relevant to this action and are sued for emergency declaratory and injunctive

relief in their official capacities.

                       JURISDICTION AND VENUE

                                        34.

      This Court has subject matter jurisdiction under 28 U.S.C. 1331 which

provides, “The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.

                                        35.

      This Court also has subject matter jurisdiction under 28 U.S.C. 1343

because this action involves a federal election for President of the United

States. “A significant departure from the legislative scheme for appointing

Presidential electors presents a federal constitutional question.” Bush v.

Gore, 531 U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm,

285 U.S. 355, 365 (1932).

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                                        36.

      The jurisdiction of the Court to grant declaratory relief is conferred by

28 U.S.C. 2201 and 2202 and by Rule 57 and 65, Fed. R. Civ. P. 7.

                                        37.

      This Court has jurisdiction over the related Georgia Constitutional

claims and State law claims under 28 U.S.C. 1367.

                                        38.

      In Georgia, the "legislature" is the General Assembly. See Ga. Const.

Art. III, § I, Para. I.

                                        39.

      Because the United States Constitution reserves for state legislatures

the power to set the time, place, and manner of holding elections for Congress

and the President, state executive officers, including but not limited to

Secretary Raffensperger, have no authority to exercise that power

unilaterally, much less flout existing legislation or the Constitution itself.


                          STATEMENT OF FACTS

                                        40.

      Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988, and

under Georgia law, O.C.G.A. § 21-2-522 to remedy deprivations of rights,




                                       17
privileges, or immunities secured by the Constitution and laws of the United

States and to contest the election results.

                                       41.

      The United States Constitution sets forth the authority to regulate

federal elections, the Constitution provides:

      The Times, Places and Manner of holding Elections for Senators and
      Representatives, shall be prescribed in each State by the Legislature
      thereof; but the Congress may at any time by Law make or alter such
      Regulations, except as to the Places of choosing Senators. U.S.
      CONST. art. I, § 4 (“Elections Clause”).

                                       42.

      With respect to the appointment of presidential electors, the

Constitution provides: Each State shall appoint, in such Manner as the

Legislature thereof may direct, a Number of Electors, equal to the whole

Number of Senators and Representatives to which the State may be entitled

in the Congress: but no Senator or Representative, or Person holding an

Office of Trust or Profit under the United States, shall be appointed an

Elector. U.S. CONST. art. II, § 1 (“Electors Clause”).

                                       43.

      Neither Defendant is a “Legislature” as required under the Elections

Clause or Electors Clause. The Legislature is “‘the representative body which

ma[kes] the laws of the people.’” Smiley 285 U.S. 365. Regulations of

congressional and presidential elections, thus, “must be in accordance with

                                       18
the method which the state has prescribed for legislative enactments.” Id. at

367; see also Ariz. State Legislature v. Ariz. Indep. Redistricting Comm’n, 576

U.S. 787, 135 S. Ct. 2652, 2668 (U.S. 2015).

                                       44.

      While the Elections Clause "was not adopted to diminish a State's

authority to determine its own lawmaking processes," Ariz. State Legislature,

135 S. Ct. at 2677, it does hold states accountable to their chosen processes

when it comes to regulating federal elections, id. at 2668. "A significant

departure from the legislative scheme for appointing Presidential electors

presents a federal constitutional question." Bush, 531 U.S. at 113 (Rehnquist,

C.J., concurring); Smiley, 285 U.S. at 365.

                                       45.

      Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,

Grounds for Contest:

      A result of a primary or election may be contested on one or more of
      the following grounds:

      (1) Misconduct, fraud, or irregularity by any primary or election
      official or officials sufficient to change or place in doubt the result;

      (2) When the defendant is ineligible for the nomination or office in
      dispute;

      (3) When illegal votes have been received or legal votes rejected at
      the polls sufficient to change or place in doubt the result;

      (4) For any error in counting the votes or declaring the result of the
      primary or election, if such error would change the result; or

                                       19
      (5) For any other cause which shows that another was the person
      legally nominated, elected, or eligible to compete in a run-off primary
      or election.

O.C.G.A. § 21-2-522.

                                       46.

      Under O.C.G.A. § 21-2-10, Presidential Electors are elected.

                                       47.

      Under O.C.G.A. § 21-2-386(a)(l)(B), the Georgia Legislature instructed

the county registrars and clerks (the "County Officials") to handle the

absentee ballots as directed therein. The Georgia Legislature set forth the

procedures to be used by each municipality for appointing the absentee ballot

clerks to ensure that such clerks would "perform the duties set forth in this

Article." See O.C.G.A. § 21-2-380.1.

                                       48.

      The Georgia Election Code instructs those who handle absentee ballots

to follow a clear procedure:

      Upon receipt of each [absentee] ballot, a registrar or clerk shall write
      the day and hour of the receipt of the ballot on its envelope. The
      registrar or clerk shall then compare the identifying information
      on the oath with the information on file in his or her office, shall
      compare the signature or make on the oath with the signature or
      mark on the absentee elector's voter card or the most recent update
      to such absentee elector's voter registration card and application for
      absentee ballot or a facsimile of said signature or maker taken from
      said card or application, and shall, if the information and signature
      appear to be valid and other identifying information appears to be
      correct, so certify by signing or initialing his or her name below the

                                       20
      voter's oath. Each elector's name so certified shall be listed by the
      registrar or clerk on the numbered list of absentee voters prepared
      for his or her precinct.

O.C.G.A. § 21-2-386(a)(l )(B) (emphasis added).

                                        49.

      Under O.C.G.A. § 21-2-386(a)(l)(C), the Georgia Legislature also

established a clear and efficient process to be used by County Officials if

they determine that an elector has failed to sign the oath on the outside

envelope enclosing the ballot or that the signature does not conform with

the signature on file in the registrar's or clerk's office (a "defective absentee

ballot").

                                        50.

      The Georgia Legislature also provided for the steps to be followed by

County Officials with respect to defective absentee ballots:

             If the elector has failed to sign the oath, or if the
      signature does not appear to be valid, or if the elector has failed
      to furnish required information or information so furnished does
      not conform with that on file in the registrar's or clerk's office,
      or if the elector is otherwise found disqualified to vote, the registrar
      or clerk shall write across the face of the envelope "Rejected," giving
      the reason therefor. The board of registrars or absentee ballot clerk
      shall promptly notify the elector of such rejection, a copy of which
      notification shall be retained in the files of the board of registrars or
      absentee ballot clerk for at least one year.

O.C.G.A. § 21-2 -386(a) (l)(C) (emphasis added).




                                        21
     I.  DEFENDANTS' UNAUTHORIZED ACTIONS VIOLATED THE
     GEORGIA ELECTION CODE AND CAUSED THE PROCESSING OF
                DEFECTIVE ABSENTEE BALLOTS.

                                            51.

       Notwithstanding the clarity of the applicable statutes and the

constitutional authority for the Georgia Legislature's actions, on March 6,

2020, the Secretary of State of the State of Georgia, Secretary Raffensperger,

and the State Election Board, who administer the state elections (the

"Administrators") entered into a "Compromise and Settlement Agreement

and Release" (the "Litigation Settlement") with the Democratic Party of

Georgia, Inc., the Democrat Senatorial Campaign Committee, and the

Democratic Congressional Campaign Committee (collectively, the "Democrat

Party Agencies"), setting forth different standards to be followed by the clerks

and registrars in processing absentee ballots in the State of Georgia8.

                                            52.

       Under the Settlement, however, the Administrators agreed to change

the statutorily prescribed manner of handling absentee ballots in a manner

that is not consistent with the laws promulgated by the Georgia Legislature

for elections in this state.


 8
  See Democratic Party of Georgia, Inc., et al. v. Raffensperger, et al., Civil Action File
 No. 1:l 9-cv-05028-WMR, United States District Court for the Northern District of
 Georgia, Atlanta Division, Doc. 56-1.


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                                      53.

      The Settlement provides that the Secretary of State would issue an

"Official Election Bulletin" to county Administrators overriding the statutory

procedures prescribed for those officials. That power, however, does not

belong to the Secretary of State under the United States Constitution.

                                      54.

      The Settlement also changed the signature requirement reducing it to a

broad process with discretion, rather than enforcement of the signature

requirement as statutorily required under O.C.G.A. 21-2-386(a)(l).

                                      55.

      The Georgia Legislature instructed county registers and clerks (the

“County Officials”) regarding the handling of absentee ballots in O.C.G.A. S

21-2-386(a)(1)(B), 21-2-380.1. The Georgia Election Code instructs those who

handle absentee ballots to follow a clear procedure:

      Upon receipt of each absentee ballot, a registrar or clerk shall write
      the day and hour of the receipt of the ballot on its envelope. The
      registrar or clerk shall then compare the identifying information on
      the oath with the information on file in his or her office, shall
      compare the signature or make on the oath with the signature or
      mark on the absentee elector’s voter card or the most recent update
      to such absent elector’s voter registration card and application for
      absentee ballot or a facsimile of said signature or maker taken from
      said card or application, and shall, if the information and signature
      appear to be valid and other identifying information appears to be
      correct, so certify by signing or initialing his or her name below the
      voter’s oath …


                                      23
O.C.G.A. S 21-2-386(a)(1)(B).

                                        56.

      The Georgia Legislature prescribed procedures to ensure that any

request for an absentee ballot must be accompanied by sufficient

identification of the elector's identity. See O.C.G.A. § 21-2-38 l(b )(1)

(providing, in pertinent part, "In order to be found eligible to vote an

absentee ballot in person at the registrar's office or absentee ballot clerk's

office, such person shall show one of the forms of identification listed in Code

Section 21-2-417 ... ").

                                        57.

      An Affiant testified, under oath, that “It was also of particular interest

to me to see that signatures were not being verified and that there were no

corresponding envelopes seen in site.” (Attached hereto as Exh. 10, Mayra

Romera, at par. 7).

                                        58.

      To reflect the very reason for process, it was documented that in the

primary election, prior to the November 3, 2020 Presidential election, many

ballots got to voters after the election. Further it was confirmed that “Untold

thousands of absentee ballot requests went unfulfilled, and tens of thousands

of mailed ballots were rejected for multiple reasons including arriving too late



                                        24
to be counted. See the Associated Press, Vote-by-Mail worries: A leaky

pipeline in many states, August 8, 2020. 9

                                            59.

       Pursuant to the Settlement, the Administrators delegated their

responsibilities for determining when there was a signature mismatch by

considering in good faith only partisan-based training - "additional guidance

and training materials" drafted by the Democrat Party Agencies’

representatives contradicting O.C.G.A. § 21-2-31.

     B. U N L A W F U L E A R L Y P R O C E S S I N G O F A B S E N T E E B A L L O T S

                                            60.

       In April 2020, the State Election Board adopted on a purportedly

“Emergency Basis” Secretary of State Rule 183-1-14-0.9-.15, Processing

Ballots Prior to Election Day. Under this rule, county election officials are

authorized to begin processing absentee ballots up to three weeks befoe

election day. Thus, the rule provides in part that “(1) Beginning at 8:00 AM

on the third Monday prior to Election Day, the county election

superintendent shall be authorized to open the outer envelope of

accepted absentee ballots …” (Emphasis added).




 9
        https://apnews.com/article/u-s-news-ap-top-news-election-2020-technology-politics-
 52e87011f4d04e41bfffccd64fc878e7

                                            25
                                       61.

      Rule 183-1-14-0.9-.15 is in direct and irreconcilable conflict with

O.C.G.A. § 21-2-386(a)(2), which prohibits the opening of absentee ballots

until election day:

      After the opening of the polls on the day of the primary, election,
      or runoff, the registrars or absentee ballot clerks shall be
      authorized to open the outer envelope on which is printed the
      oath of the elector in such a manner as not to destroy the oath printed
      thereon; provided, however, that the registrars or absentee ballot
      clerk shall not be authorized to remove the contents of such outer
      envelope or to open the inner envelope marked “Official Absentee
      Ballot,” except as otherwise provided in this Code section.

(Emphasis added).

                                       62.

      In plain terms, the statute clearly prohibits opening absentee ballots

prior to election day, while the rule authorizes doing so three weeks before

election day. There is no reconciling this conflict. The State Election Board

has authority under O.C.G.A. § 21-2-31 to adopt lawful and legal rules and

regulations, but no authority to promulgate a regulation that is directly

contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is therefore

plainly and indisputably unlawful.

                                       63.

      The State Election Board re-adopted Rule 183-1-14-0.9-.15 on

November 23, 2020 for the upcoming January 2021 runoff election.


                                       26
                    C. U N L A W F U L A U D I T P R O C E D U R E S

                                           64.

      According to Secretary Raffensperger, in the presidential general

election, 2,457,880 votes were cast in Georgia for President Donald J. Trump,

and 2,472,002 votes were cast for Joseph R. Biden, which narrowed in

Donald Trump’s favor after the most recent recount.

                                           65.

      Secretary Raffensperger declared that for the Hand Recount:

      Per the instructions given to counties as they conduct their audit
      triggered full hand recounts, designated monitors will be given
      complete access to observe the process from the beginning. While the
      audit triggered recount must be open to the public and media,
      designated monitors will be able to observe more closely. The general
      public and the press will be restricted to a public viewing area.
      Designated monitors will be able to watch the recount while standing
      close to the elections’ workers conducting the recount.

      Political parties are allowed to designate a minimum of two monitors
      per county at a ratio of one monitor per party for every ten audit
      boards in a county... Beyond being able to watch to ensure the
      recount is conducted fairly and securely, the two-person audit boards
      conducting the hand recount call out the votes as they are recounted
      , providing monitors and the public an additional way to keep tabs
      on the process. 10




10
   Office of Brad Raffensperger, Monitors Closely Observing Audit-Triggered Full Hand
Recount: Transparency is Built Into Process,
https://sos.ga.gov/index.php/elections/monitors_closely_observing_audit-
triggered_full_hand_recount_transparency_is_built_into_process

                                           27
                                       66.

      The audit was conducted O.C.G.A. § 21-2-498. This code section

requires that audits be completed “in public view” and authorizes the State

Board of Elections to promulgate regulations to administer an audit “to

ensure that collection of validly cast ballots is complete, accurate and

trustworthy throughout the audit.”

                                       67.

      Plaintiffs can show that Democrat-majority counties provided political

parties and candidates, including the Trump Campaign, no meaningful

access or actual opportunity to review and assess the validity of mail-in

ballots during the pre-canvassing meetings. While in the audit or recount,

they witnessed Trump votes being put into Biden piles.

                                       68.

      Non-parties Amanda Coleman and Maria Diedrich are two individuals

who volunteered to serve as designated monitors for the Donald J. Trump

Presidential Campaign, Inc. (the "Trump Campaign") on behalf of the

Georgia Republican Party (the "Republican Party") at the Hand Recount.

(Attached hereto and incorporated herein as Exhibits 2 and 3), respectively,

are true and correct copies of (1) the Affidavit of Amanda Coleman in Support

of Plaintiffs' Motion for Temporary Restraining Order (the "Coleman

Affidavit"), and (2) the Affidavit of Maria Diedrich in Support of Plaintiffs'

                                       28
Motion for Temporary Restraining Order (the "Diedrich Affidavit"). (See

Exh. 11, Coleman Aff.,2; Exh. 12, Diedrich Aff., 2.)

                                       69.

      The Affidavits set forth various conduct amounting to federal crimes,

clear improprieties, insufficiencies, and improper handling of ballots by

County Officials and their employees that Ms. Coleman and Ms. Diedrich

personally observed while monitoring the Hand Recount. (See Exh. 11,

Coleman Aff., 3-10; Exh. 12, Diedrich Aff., 4-14.)

                                       70.

      As a result of her observations of the Hand Recount as a Republican

Party monitor, Ms. Diedrich declared, "There had been no meaningful way to

review or audit any activity" at the Hand Recount. (See Exh. 12, Diedrich

Aff.,14.)

                                       71.

      As a result of their observations of the Hand Recount as Republican

Party monitors, Ms. Coleman likewise declared, "There was no way to tell if

any counting was accurate or if the activity was proper." (See Exh. 12,

Coleman Aff.,10).

                                       72.

      On Election Day, when the Republican poll watchers were, for a limited

time, present and allowed to observe in various polling locations, they

                                       29
observed and reported numerous instances of election workers failing to

follow the statutory mandates relating to two critical requirements, among

other issues:

              (1) a voter’s right to spoil their mail-in ballot at their polling

        place on election day and to then vote in-person, and

              (2) the ability for voters to vote provisionally on election day

        when a mail-in ballot has already been received for them, but when

        they did not cast those mail-in ballots, who sought to vote in person

        during early voting but was told she already voted; she emphasized

        that she had not. The clerk told her he would add her manually with

        no explanation as to who or how someone voted using her name.

        (Attached hereto as Exh. 13, Aff. Ursula Wolf)

                                          73.

        Another observer for the ballot recount testified that “at no time did I

witness any Recounter or individual participate in the recount verifying

signatures [on mail-in ballots].” (Attached hereto as Exh. 14, Nicholas Zeher

Aff).

                                          74.

        In some counties, there was no actual "hand" recounting of the ballots

during the Hand Recount, but rather, County Officials and their employees



                                          30
simply conducted another machine count of the same ballots. (See. Exh. 9,

10). That will not reveal the massive fraud of which plaintiffs complain.

                                       75.

      A large number of ballots were identical and likely fraudulent. An

Affiant explains that she observed a batch of utterly pristine ballots:

      14. Most of the ballots had already been handled; they had been
      written on by people, and the edges were worn. They showed obvious
      use. However, one batch stood out. It was pristine. There was a
      difference in the texture of the paper - it was if they were intended
      for absentee use but had not been used for that purposes. There was
      a difference in the feel.

      15. These different ballots included a slight depressed pre-fold so
      they could be easily folded and unfolded for use in the scanning
      machines. There were no markings on the ballots to show where they
      had com~ from, or where they had been processed. These stood out.

      16. In my 20 years of experience of handling ballots, I observed that
      the markings for the candidates on these ballots were unusually
      uniform, perhaps even with a ballot-marking device. By my estimate
      in observing these ballots, approximately 98% constituted votes for
      Joe Biden. I only observed two of these ballots as votes for President
      Donald J. Trump.” (See Exh. 15 Attached hereto).

                                       76.

      The same Affiant further testified specifically to the breach of the chain

of custody of the voting machines the night before the election stating:

      we typically receive the machines, the ballot marking devices – on
      the Friday before the election, with a chain of custody letter to be
      signed on Sunday, indicating that we had received the machines and
      the counts on the machines when received, and that the machines
      have been sealed. In this case, we were asked to sign the chain
      of custody letter on Sunday, even though the machines were
      not delivered until 2:00 AM in the morning on Election Day.
                                       31
      The Milton precinct received its machines at 1:00 AM in the morning
      on Election Day. This is unacceptable and voting machines should
      [not] be out of custody prior to an Election Day. Id.


                      II. EVIDENCE OF FRAUD

          A PATTERN SHOWING THE ABSENCE OF MISTAKE

                                      77.

      The stunning pattern of the nature and acts of fraud demonstrate an

absence of mistake.

                                      78.

      The same Affiant further explained, in sworn testimony, that the

breach included: “when we did receive the machines, they were not sealed or

locked, the serial numbers were not what were reflected on the related

documentation…” See Id.

                                      79.

      An affiant testified that “While in Henry County, I personally

witnessed ballots cast for Donald Trump being placed in the pile for Joseph

Biden, I witnessed this happen at table “A”.’ (See Exh. 14, par. 27).

                                      80.

      The Affiant further testified, that “when this was brought to Ms. Pitts

attention, it was met with extreme hostility. At no time did I witness any

ballot cast for Joseph Biden be placed in the pile for Donald Trump. (See

Exh. 14, par. 28).
                                      32
                                       81.

      Another Affiant in the mail-in ballot and absentee ballot recounting

process, testified in her sworn affidavit, that “on November 16, 2020 … It was

also of particular interest to me to see that signatures were not being verified

and there were no corresponding envelopes seen in sight.” (See Exh. 10, at

Par. 7).

                                       82.

      Yet another Affiant, in the recount process, testified that he received

push back and a lack of any cooperation and was even threatened as if he did

something wrong, when he pointed out the failure to follow the rules with the

observers while open mail-in ballot re-counting was occurring, stating:

      “However, as an observer, I observed that the precinct had twelve
      (12) counting tables, but only one (1) monitor from the Republican
      Party. I brought it up to Erica Johnston since the recount rules
      provided for one (1) monitor from each Party per ten (10) tables or
      part thereof…”

(See Attached hereto, Exh. 16, Ibrahim Reyes Aff.)
                                       83.

      Another Affiant explains a pattern of behavior that is alarming, in his

position as an observer in the recount on absentee ballots with barcodes, he

testified:

      I witnessed two poll workers placing already separated paper
      machine receipt ballots with barcodes in the Trump tray,
      placing them in to the Biden tray. I also witnessed the same two
      poll workers putting the already separated paper receipt ballots in
                                       33
      the “No Vote” and “Jorgensen” tray, and removing them and putting
      them inside the Biden tray, They then took out all of the ballots out
      of the Biden tray and stacked them on the table, writing on the count
      ballot sheet.

      (See Attached hereto, Exh.17, pars. 4-5, Aff. of Consetta Johson).

                                      84.

      Another Affiant, a Democrat, testified in his sworn affidavit, that

before he was forced to move back to where he could not see, he had in fact

seen “absentee ballots for Trump inserted into Biden’s stack, and counted as

Biden votes. This occurred a few times”. (See attached hereto, Exh. 18 at

Par. 12, Aff. of Carlos Silva).

                                      85.

      Yet another Affiant testified about the lack of process and the hostility

only towards the Republican party, which is a violation of the Equal

Protection Clause. He testified:

      I also observed throughout my three days in Atlanta, not once did
      anyone verify these ballots. In fact, there was no authentication
      process in place and no envelopes were observed or allowed to be
      observed. I saw hostility towards Republican observers but never
      towards Democrat observers. Both were identified by badges.

(See Id., at pars. 13-14).

                                      86.

      Another Affiant explained that his ballot was not only not processed in

accordance with Election law, he witnessed people reviewing his ballot to

decide where to place it, which violated the privacy of his ballot, and when he
                                      34
tried to report it to a voter fraud line, he never received any contact or

cooperation stating:

      “I voted early on October 12 at the precinct at Lynwood Park …
      Because of irregularities at the polling location, I called the voter
      fraud line to ask why persons were discussing my ballot and
      reviewing it to decide where to place it. When I called the state fraud
      line, I was directed to a worker in the office of the Secretary of
      State…”

(See Attached hereto, Exh. 19, Andrea ONeal Aff, at par. 3).

                                       87.

      He further testified that when he was an Observer at the Lithonia

location, he saw many irregularities, and specifically “saw an auditor sort

Biden votes that he collected and sorted into ten ballot stacks, which [the

auditor] did not show anyone.” Id. at p. 8.

                                       88.

      Another Affiant testified about the use of different paper for ballots,

that would constitute fraud stating:

      I noticed that almost all of the ballots I reviewed were for Biden.
      Many batches went 100% for Biden. I also observed that the
      watermark on at least 3 ballots were solid gray instead of
      transparent, leading me to believe the ballot was counterfeit. I
      challenged this and the Elections Director said it was a legitimate
      ballot and was due to the use of different printers. Many ballots had
      markings for Biden only, and no markings on the rest of the ballot.

(See Attached hereto, Exh. 20, Aff of Debra J. Fisher, at pars. 4, 5, 6).




                                       35
                                      89.

      An Affiant testified, that while at the Audit, ‘While in Henry County,

I personally witnessed ballots cast for Donald Trump being placed in

the pile for Joseph Biden. I witnessed this happen at table “A”’. (See

attached hereto as Exh. 22, Kevin Peterford, at par. 29).   Another Affiant

testified, that “I witnessed two poll workers placing already separated

paper machine receipt ballots with barcodes in the Trump tray,

placing them in to the Biden tray. I also witnessed the same two poll

workers putting the already separated paper receipt abllots in the “No

Vote” and “Jorgensen” tray, and removing them and putting them

inside the Biden tray, They then took out all of the ballots out of the

Biden tray and stacked them on the table, writing on the count ballot

sheet. (See Exh. 17, Johnson, pars. 4-5).

                                      90.

      Another Affiant, a Democrat, testified in his sworn affidavit,

  before he was forced to move back to where he could not see, he had

  in fact seen, “I also saw absentee ballots for Trump inserted




                                      36
  into Biden’s stack, and counted as Biden votes. This occurred

  a few times”. (See Exh. 18, Par. 12).

                                             91.

      A Republican National Committee monitor in Georgia’s election

recount, Hale Soucie, told an undercover journalist there are individuals

counting ballots who have made continuous errors,” writes O’Keefe. Project

Veritas, Watch: Latest Project Veritas Video reveals “Multiple Ballots Meant

for Trump Went to Biden in Georgia. 11



                  B.     THE VOTING MACHINES, SECRECY

SOFTWARE USED BY VOTING MACHINES THROUGHOUT GEORGIA
                     IS CRUCIAL

                                             92.

      These violations of federal and state laws impacted the election of

November 3, 2020 and set the predicate for the evidence of deliberate

fraudulent conduct, manipulation, and lack of mistake that follows. The

commonality and statewide nature of these legal violations renders

certification of the legal vote untenable and warrants immediate




 11
          https://hannity.com/media-room/watch-latest-project-veritas-video-reveals-multiple-
 ballots-meant-for-trump-went-to-biden-in-georgia/


                                             37
impoundment of voting machines and software used throughout Georgia for

expert inspection and retrieval of the software.

                                      93.

      An Affiant, who is a network & information cyber-security expert,

under sworn testimony explains that after studying the user manual for

Dominion Voting Systems Democracy software, he learned that the

information about scanned ballots can be tracked inside the software

system for Dominion:

      (a)   When bulk ballot scanning and tabulation begins, the
      "ImageCast Central" workstation operator will load a batch of ballots
      into the scanner feed tray and then start the scanning procedure
      within the software menu. The scanner then begins to scan the
      ballots which were loaded into the feed tray while the "ImageCast
      Central" software application tabulates votes in real-time.
      Information about scanned ballots can be tracked inside the
      "ImageCast Central" software application.

(See attached hereto Exh 22, Declaration of Ronald Watkins, at par. 11).

                                      94.

      Affiant further explains that the central operator can remove

or discard batches of votes. “After all of the ballots loaded into the

scanner's feed tray have been through the scanner, the "ImageCast Central"

operator will remove the ballots from the tray then have the option to either

"Accept Batch" or "Discard Batch" on the scanning menu …. “(Id. at par. 8).




                                      38
                                       95.

      Affiant further testifies that the Dominion/ Smartmatic user manual

itself makes clear that the system allows for threshold settings to be set to

mark all ballots as “problem ballots” for discretionary determinations on where

the vote goes. It states:

      During the scanning process, the "ImageCast Central" software will
      detect how much of a percent coverage of the oval was filled in by the
      voter. The Dominion customer determines the thresholds of which the
      oval needs to be covered by a mark in order to qualify as a valid vote.
      If a ballot has a marginal mark which did not meet the specific
      thresholds set by the customer, then the ballot is considered a
      "problem ballot" and may be set aside into a folder named
      "NotCastImages". Through creatively tweaking the oval coverage
      threshold settings it should be possible to set thresholds in such a way
      that a non-trivial amount of ballots are marked "problem ballots" and
      sent to the "NotCastImages" folder. It is possible for an administrator
      of the ImageCast Central work station to view all images of scanned
      ballots which were deemed "problem ballots" by simply navigating via
      the standard "Windows File Explorer" to the folder named
      "NotCastImages" which holds ballot scans of "problem ballots". It is
      possible for an administrator of the "ImageCast Central" workstation
      to view and delete any individual ballot scans from the
      "NotCastImages" folder by simply using the standard Windows delete
      and recycle bin functions provided by the Windows 10 Pro operating
      system.

Id. at pars. 9-10.

                                       96.

      The Affiant further explains the vulnerabilities in the system when the

copy of the selected ballots that are approved in the Results folder are made




                                       39
to a flash memory card – and that is connected to a Windows computer

stating:

       It is possible for an administrator of the "ImageCast Central"
       workstation to view and delete any individual ballot scans from the
       "NotCastImages" folder by simply using the standard Windows delete
       and recycle bin functions provided by the Windows 10 Pro operating
       system. … The upload process is just a simple copying of a "Results"
       folder containing vote tallies to a flash memory card connected to the
       "Windows 10 Pro" machine. The copy process uses the standard drag-
       n-drop or copy/paste mechanisms within the ubiquitous "Windows
       File Explorer". While a simple procedure, this process may be error
       prone and is very vulnerable to malicious administrators.

Id. at par. 11-13 (emphasis supplied).

                                              97.

       It was announced on “Monday, [July 29, 2019], [that] Governor Kemp

awarded a contract for 30,000 new voting machines to Dominion Voting

Systems, scrapping the state’s 17-year-old electronic voting equipment and

replacing it with touchscreens that print out paper ballots.” 12 Critics are

quoted: “Led by Abrams, Democrats fought the legislation and pointed to

cybersecurity experts who warned it would leave Georgia's elections

susceptible to hacking and tampering.” And “Just this week, the Fair Fight

voting rights group started by [Stacy] Abrams launched a television ad




12
  Georgia Buys New Voting Machines for 2020 Presidential Election, by Mark Niesse, the
Atlanta Journal-Constitution, July 30, 2019, https://www.ajc.com/news/state--regional-govt--
politics/georgia-awards-contract-for-new-election-system-dominion-
voting/tHh3V8KZnZivJoVzZRLO4O/
                                              40
critical of the bill. In a statement Thursday, the group called it “corruption at

its worst” and a waste of money on “hackable voting machines.” 13

                                           98.

      It was further reported in 2019 that the new Dominion Voting

Machines in Georgia “[w]ith Georgia’s current voting system, there’s no way

to guarantee that electronic ballots accurately reflect the choices of

voters because there’s no paper backup to verify results, with it being

reported that:

      (a)   Recounts are meaningless on the direct-recording electronic
      voting machines because they simply reproduce the same numbers
      they originally generated.

      (b)   But paper ballots alone won’t protect the sanctity of elections
      on the new touchscreens, called ballot-marking devices.

      (c)    The new election system depends on voters to verify the printed
      text of their choices on their ballots, a step that many voters might
      not take. The State Election Board hasn't yet created regulations for
      how recounts and audits will be conducted. And paper ballots embed
      selections in bar codes that are only readable by scanning machines,
      leaving Georgians uncertain whether the bar codes match their
      votes. 14




13
  Georgia Governor Inks Law to Replace Voting Machines, The Atlanta Journal-Constitution,
AJC News Now, by Greg Bluestein and Mark Niesse, June 14, 2019; Credit: Copyright 2019 The
Associated Press, June 2019




                                           41
   i.      As part of the scheme and artifice to defraud the plaintiffs, the
           candidates and the voters of undiminished and unaltered voting
           results in a free and legal election, the Defendants and other persons
           known and unknown committed the following violations of law:

        50 U.S.C. § 20701 requires the retention and preservation of records

and papers by officers of elections under penalty of fine and imprisonment:

        § 20701. Retention and preservation of records and papers by
        officers of elections; deposit with custodian; penalty for
        violation

        Every officer of election shall retain and preserve, for a period of
        twenty-two months from the date of any general, special, or primary
        election of which candidates for the office of President, Vice
        President, presidential elector, Member of the Senate, Member of the
        House of Representatives, or Resident Commissioner from the
        Commonwealth of Puerto Rico are voted for, all records and
        papers which come into his possession relating to any
        application, registration, payment of poll tax, or other act
        requisite to voting in such election, except that, when required
        by law, such records and papers may be delivered to another officer
        of election and except that, if a State or the Commonwealth of Puerto
        Rico designates a custodian to retain and preserve these records and
        papers at a specified place, then such records and papers may be
        deposited with such custodian, and the duty to retain and preserve
        any record or paper so deposited shall devolve upon such custodian.
        Any officer of election or custodian who willfully fails to comply with
        this section shall be fined not more than $1,000 or imprisoned not
        more than one year, or both.

50 U.S.C.§ 20701.

                                         99.

        In the primaries it was confirmed that, “The rapid introduction of new

technologies and processes in state voting systems heightens the risk of




                                        42
foreign interference and insider tampering. That’s true even if simple human

error or local maneuvering for political advantage are more likely threats 15.

                                              100.

       A Penn Wharton Study from 2016 concluded that “Voters and their

representatives in government, often prompted by news of high-profile voting

problems, also have raised concerns about the reliability and integrity of the

voting process, and have increasingly called for the use of modern technology

such as laptops and tablets to improve convenience.” 16

                                              101.

       As evidence of the defects or features of the Dominion Democracy Suite,

as described above, the same Dominion Democracy Suite was denied

certification in Texas by the Secretary of State on January 24, 2020

specifically because of a lack of evidence of efficiency and accuracy and

to be safe from fraud or unauthorized manipulation.17




15
  See Threats to Georgia Elections Loom Despite New Paper Ballot Voting, By Mark Niesse, The
Atlanta Journal-Constitution and (The AP, Vote-by-Mail worries: A leaky pipeline in many states,
August 8, 2020).
16
  Penn Wharton Study by Matt Caufield, The Business of Voting, July 2018.
17Attached hereto, Exh. 23, copy of Report of Review of Dominion Voting Systems Democracy
Suite 5.5-A Elections Division by the Secretary of State’s office, Elections Division, January 24,
2020.
                                               43
                                      102.

     Plaintiffs have since learned that the "glitches" in the Dominion

system–that have the uniform effect of taking votes from Trump and shifting

them to Biden—have been widely reported in the press and confirmed by the

analysis of independent experts.

                                      103.

     Plaintiffs can show, through expert and fact witnesses that:


     c.      Dominion/ Smartmatic Systems Have Massive End User
             Vulnerabilities.

     1. Users on the ground have full admin privileges to machines and
        software. Having been created to “rig” elections, the Dominion
        system is designed to facilitate vulnerability and allow a select few
        to determine which votes will be counted in any election. Workers
        were responsible for moving ballot data from polling place to the
        collector’s office and inputting it into the correct folder. Any
        anomaly, such as pen drips or bleeds, results in a ballot being
        rejected. It is then handed over to a poll worker to analyze and
        decide if it should count. This creates massive opportunity for purely
        discretionary and improper vote “adjudication.”

     2. Affiant witness (name redacted for security reasons18), in his sworn
        testimony explains he was selected for the national security guard
        detail of the President of Venezuela, and that he witnessed the
        creation of Smartmatic for the purpose of election vote manipulation
        to insure Venezuelan dictator Hugo Chavez never lost an election
        and he saw it work. Id.

          “The purpose of this conspiracy was to create and operate a voting
          system that could change the votes in elections from votes against




                                       44
           persons running the Venezuelan government to votes in their
           favor in order to maintain control of the government.”


(See Exh. 2, pars. 6, 9, 10).

                                             104.

       Smartmatic’s incorporators and inventors have backgrounds evidencing

their foreign connections, including Venezuela and Serbia, specifically its

identified inventors:

       Applicant: SMARTMATIC, CORP.

       Inventors: Lino Iglesias, Roger Pinate, Antonio Mugica, Paul Babic,
       Jeffrey Naveda, Dany Farina, Rodrigo Meneses, Salvador Ponticelli,
       Gisela Goncalves, Yrem Caruso. 19

                                             105.

       The presence of Smartmatic in the United States—owned by foreign

nationals, and Dominion, a Canadian company with its offices such as the

Office of General Counsel in Germany, would have to be approved by CFIUS.

CFIUS was created in 1988 by the Exon-Florio Amendment to the Defense

Production Act of 1950. CFIUS’ authorizing statute was amended by the

Foreign Investment and National Security Act of 2007 (FINSA).

       As amended, section 721 of the DPA directs "the President, acting
       through [CFIUS]," to review a "covered transaction to determine
       the effects of the transaction on the national security of the
       United States." 50 U.S.C. app. § 2170(b)(1)(A). Section 721 defines


19 https://patents.justia.com/assignee/smartmatic-corp


                                              45
      a covered transaction as "any merger, acquisition, or takeover …, by
      or with any foreign person which could result in foreign control of any
      person engaged in interstate commerce in the United States." Id. §
      2170(a)(3). Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 302,
      411 U.S. App. D.C. 105, 111, (2014). Review of covered transactions
      under section 721 begins with CFIUS. As noted, CFIUS is chaired by
      the Treasury Secretary and its members include the heads of
      various federal agencies and other high-ranking Government
      officials with foreign policy, national security and economic
      responsibilities.

                                      106.

      Then Congresswoman Carolyn Maloney wrote October 6, 2006 to the

Secretary of Treasury, Henry M. Paulson, Jr., Objecting to approval of

Dominion/Smartmatic by CFIUS because of its corrupt Venezuelan

origination, ownership and control. (See attached hereto as Exh. 24, Carolyn

Maloney Letter of October 6, 2006). Our own government has long known of

this foreign interference on our most important right to vote, and it had

either responded with incompetence, negligence, willful blindness, or abject

corruption. In every CFIUS case, there are two TS/SCI reports generated.

One by the ODNI on the threat and one by DHS on risk to critical

infrastructure. Smartmatic was a known problem when it was nonetheless

approved by CFIUS.

                                      107.

      The Wall Street Journal in 2006 did an investigative piece and found

that, “Smartmatic came to prominence in 2004 when its machines were used


                                      46
in an election to recall President Chávez, which Mr. Chávez won handily --

and which the Venezuelan opposition said was riddled with fraud.

Smartmatic put together a consortium to conduct the recall elections,

including a company called Bizta Corp., in which Smartmatic owners had a

large stake. For a time, the Venezuelan government had a 28% stake in Bizta

in exchange for a loan.’ 20 …“Bizta paid off the loan in 2004, and Smartmatic

bought the company the following year. But accusations of Chávez

government control of Smartmatic never ended, especially since Smartmatic

scrapped a simple corporate structure, in which it was based in the U.S. with

a Venezuelan subsidiary, for a far more complex arrangement. The company

said it made the change for tax reasons, but critics, including Rep. Carolyn

Maloney (D., N.Y.) and TV journalist Lou Dobbs, pounded the company for

alleged links to the Chávez regime. Id. Since its purchase by Smartmatic,

Sequoia's sales have risen sharply to a projected $200 million in 2006, said

Smartmatic's chief executive, Anthony Mugica.” Id.

                                            108.

       Indeed, Mr. Cobucci testified, through his sworn affidavit, that he born

in Venezuela, is cousins with Antonio (‘Anthony’) Mugica, and he has




20
  See WSJ.com, Smartmatic to Sell U.S. Unit, End Probe into Venezuelan Links, by Bob Davis,
12/22/2006, https://www.wsj.com/articles/SB116674617078557263

                                             47
personal knowledge of the fact that Anthony Mugica incorporated

Smartmatic in the U.S. in 2000 with other family members in Venezuela

listed as owners. He also has personal knowledge that Anthony Mugica

manipulated Smartmatic to ensure the election for Chavez in the 2004

Referendum in Venezuela. He also testified, through his sworn affidavit, that

Anthony Mugica received tens of millions of dollars from 2003- 2015 from the

Venezuelan government to ensure Smartmatic technology would be

implemented around the world, including in the U.S. (See attached hereto,

Exh. 25, Juan Carlos Cobucci Aff.)

                                      109.

      Another Affiant witness testifies that in Venezuela, she was in an

official position related to elections and witnessed manipulations of petitions

to prevent a removal of President Chavez and because she protested, she was

summarily dismissed. Corroborating the testimony of our secret witness, and

our witness Mr. Cobucci, cousin of Anthony Mugica, who began Smartmatic,

and this witness explains the vulnerabilities of the electronic voting system

and Smartmatica to such manipulations. (See Exh. 3, Diaz Cardozo Aff).

                                      110.

      Specific vulnerabilities of the systems in question that have been

documented or reported include:



                                      48
     a. Barcodes can override the voters’ vote: As one University of California,

        Berkeley study shows, “In all three of these machines [including

        Dominion Voting Systems] the ballot marking printer is in the same

        paper path as the mechanism to deposit marked ballots into an

        attached ballot box. This opens up a very serious security

        vulnerability: the voting machine can make the paper ballot (to add

        votes or spoil already-cast votes) after the last time the voter sees the

        paper, and then deposit that marked ballot into the ballot box without

        the possibility of detection.” (See Exh. 7).       21



     b. Voting machines were able to be connected to the internet by way of

        laptops that were obviously internet accessible. If one laptop was

        connected to the internet, the entire precinct was compromised.

     c. We … discovered that at least some jurisdictions were not aware that

        their systems were online,” said Kevin Skoglund, an independent

        security consultant who conducted the research with nine others, all of

        them long-time security professionals and academics with expertise in

        election security. Vice. August 2019.        22




21
   Ballot Marking Devices (BMDs) Cannot Assure the Will of the Voters, Andrew W. Appel,
Richard T. DeMillo, University of California, Berkeley, 12/27/2019.
22
   Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official
Denials, Motherboard Tech by Vice, by Kim Zetter, August 8, 2019,
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-have-been-left-
exposed-online-despite-official-denials

                                               49
     d. October 6, 2006 – Congresswoman Carolyn Maloney called on Secretary

        of Treasury Henry Paulson to conduct an investigation into Smartmatic

        based on its foreign ownership and ties to Venezuela. (See Exh. 24)

     e. Congresswoman Maloney wrote that “It is undisputed that Smartmatic

        is foreign owned and it has acquired Sequoia … Smartmatica now

        acknowledged that Antonio Mugica, a Venezuelan businessman has a

        controlling interest in Smartmatica, but the company has not revealed

        who all other Smartmatic owners are.” Id.

     f. Dominion “got into trouble” with several subsidiaries it used over

        alleged cases of fraud. One subsidiary is Smartmatic, a company “that

        has played a significant role in the U.S. market over the last decade,”

        according to a report published by UK-based AccessWire 23.

     g. Litigation over Smartmatic “glitches” alleges they impacted the 2010

        and 2013 mid-term elections in the Philippines, raising questions of

        cheating and fraud. An independent review of the source codes used in

        the machines found multiple problems, which concluded, “The software




23
  Voting Technology Companies in the U.S. – Their Histories and Present Contributions, Access
Wire, August 10, 2017, https://www.accesswire.com/471912/Voting-Technology-Companies-in-
the-US--Their-Histories.

                                             50
       inventory provided by Smartmatic is inadequate, … which brings into

       question the software credibility…” 24

     h. Dominion acquired Sequoia Voting Systems as well as Premier Election

       Solutions (formerly part of Diebold, which sold Premier to ES&S in

       2009, until antitrust issues forced ES&S to sell Premier, which then

       was acquired by Dominion). 25.

     i. Dominion entered into a 2009 contract with Smartmatic and provided

       Smartmatic with the PCOS machines (optical scanners) that were used

       in the 2010 Philippine election—the biggest automated election run by

       a private company. The international community hailed the

       automation of that first election in the Philippines. 26 The results’

       transmission reached 90% of votes four hours after polls closed and

       Filipinos knew for the first time who would be their new president on

       Election Day. In keeping with local election law requirements,

       Smartmatic and Dominion were required to provide the source code of




24
   Smartmatic-TIM running out of time to fix glitches, ABS-CBN News, May 4, 2010
https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-glitches
25
   The Business of Voting, Penn Wharton, Caufield, p. 16.
26
   Smartmatic-TIM running out of time to fix glitches, ABS-CBN News, May 4, 2010
https://news.abs-cbn.com/nation/05/04/10/smartmatic-tim-running-out-time-fix-glitches
                                             51
       the voting machines prior to elections so that it could be independently

       verified. 27

     j. In late December of 2019, three Democrat Senators, Warren,

       Klobuchar, Wyden, and House Member Mark Pocan wrote about their

       ‘particularized concerns that secretive & “trouble -plagued

       companies”’ “have long skimped on security in favor of

       convenience,” in the context of how they described the voting machine

       systems that three large vendors – Election Systems & Software,

       Dominion Voting Systems, & Hart InterCivic – collectively provide

       voting machines & software that facilitate voting for over 90% of all

       eligible voters in the U.S.” (See attached hereto as Exh. 26, copy of

       Senator Warren, Klobuchar, Wyden’s December 6, 2019 letter).

     k. Senator Ron Wyden (D-Oregon) said the findings [insecurity of voting

       systems] are “yet another damning indictment of the profiteering

       election vendors, who care more about the bottom line than protecting

       our democracy.” It’s also an indictment, he said, “of the notion that

       important cybersecurity decisions should be left entirely to county




27
  Presumably the machiens were not altered following submission of the code. LONDON,
ENGLAND / ACCESSWIRE / August 10, 2017, Voting Technology Companies in the U.S. -
Their Histories and Present Contributions
                                         52
       election offices, many of whom do not employ a single cybersecurity

       specialist.” 28

                                              111.

       An analysis of the Dominion software system by a former US Military

Intelligence expert concludes that the system and software have been

accessible and were certainly compromised by rogue actors, such as Iran and

China. By using servers and employees connected with rogue actors and

hostile foreign influences combined with numerous easily discoverable leaked

credentials, Dominion neglectfully allowed foreign adversaries to access data

and intentionally provided access to their infrastructure in order to monitor

and manipulate elections, including the most recent one in 2020. (See Exh.

7).

                                              112.

       An expert witness in pending litigation in the United States District

Court, Northern District Court of Georgia, Atlanta Div., 17-cv-02989

specifically testified to the acute security vulnerabilities, among other facts,

by declaration filed on October 4, 2020, (See Exh. 4B, Document 959-4




28
   Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official
Denials, Motherboard Tech by Vice, by Kim Zetter, August 8, 2019,
https://www.vice.com/en/article/3kxzk9/exclusive-critical-us-election-systems-have-been-left-
exposed-online-despite-official-denials

                                               53
attached hereto, paragraph. 18 and 20 of p. 28, Exh. 4, Hursti Declaration).

wherein he testified or found:

       1)     The failure of the Dominion software “to meet the methods and

processes for national standards for managing voting system problems and

should not be accepted for use in a public election under any circumstances.”

       2)     In Hursti’s declaration he explained that “There is evidence of

remote access and remote troubleshooting which presents a grave security

implication and certified identified vulnerabilities should be considered an

“extreme security risk.” Id. Hari Hursti also explained that USB drives with

vote tally information were observed to be removed from the presence of poll

watchers during a recent election. Id. The fact that there are no controls of

the USB drives was seen recently seen the lack of physical security and

compliance with professional standards, " in one Georgia County, where it is

reported that 3,300 votes were found on memory sticks not loaded plus in

Floyd county, another 2,600 were unscanned, and the “found votes” reduced

Biden’s lead over Donald Trump 29.

              (a)    In the prior case against Dominion, supra, further

       implicating the secrecy behind the software used in Dominion Systems,




29
  Recount find thousands of Georgia votes, Atlanta Journal-Constitution by Mark Niesse and
David Wickert,11/19/20. https://www.ajc.com/politics/recount-finds-thousands-of-georgia-
votes-missing-from-initial-counts/ERDRNXPH3REQTM4SOINPSEP72M/
                                             54
      Dr. Eric Coomer, a Vice President of Dominion Voting Systems,

      testified that even he was not sure of what testing solutions were

      available to test problems or how that was done, “ I have got to be

      honest, we might be a little bit out of my bounds of understanding the

      rules and regulations… and in response to a question on testing for

      voting systems problems in relation to issues identified in 2 counties,

      he explained that “Your Honor, I’m not sure of the complete test plan…

      Again Pro V&V themselves determine what test plan in necessary based

      on their analysis of the code itself.” (Id. at Document 959-4, pages 53,

      62 L.25- p. 63 L3).

                                      113.

      Hursti stated within said Declaration:

      “The security risks outlined above – operating system risks, the
      failure to harden the computers, performing operations directly on
      the operating systems, lax control of memory cards, lack of
      procedures, and potential remote access are extreme and destroy the
      credibility of the tabulations and output of the reports coming from a
      voting system.”

      (See Paragraph 49 of Hursti Declaration).

                                      114.

      Rather than engaging in an open and transparent process to give

credibility to Georgia’s brand-new voting system, the election processes were




                                      55
hidden during the receipt, review, opening, and tabulation of those votes in

direct contravention of Georgia’s Election Code and federal law.

                                     115.

      The House of Representatives passed H.R. 2722 in an attempt to

address these very risks identified by Hursti, on June 27, 2019:

      This bill addresses election security through grant programs and
      requirements for voting systems and paper ballots.

      The bill establishes requirements for voting systems, including that
      systems (1) use individual, durable, voter-verified paper ballots; (2)
      make a voter's marked ballot available for inspection and verification
      by the voter before the vote is cast; (3) ensure that individuals with
      disabilities are given an equivalent opportunity to vote, including
      with privacy and independence, in a manner that produces a voter-
      verified paper ballot; (4) be manufactured in the United States; and
      (5) meet specified cybersecurity requirements, including the
      prohibition of the connection of a voting system to the internet.



                  ADDITIONAL SPECIFIC FRAUD

                                     116.

      On November 4, 2020, the Georgia GOP Chairman issued the following

statement:

      “Let me repeat. Fulton County elections officials told the media and
      our observers that they were shutting down the tabulation center at
      State Farm Arena at 10:30 p.m. on election night to continue counting
      ballots in secret until 1:00 a.m. 30




                                      56
                                          117.

      It was widely reported that "As of 7 p.m. on Wednesday Fulton County

Elections officials said 30,000 absentee ballots were not processed due to a

pipe burst.” 31 Officials reassured voters that none of the ballots were

damaged and the water was quickly cleaned up. But the emergency delayed

officials from processing ballots between 5:30 a.m. and 9:30 a.m. Officials say

they continued to count beginning at 8:30 a.m. Wednesday. The statement

from Fulton County continues:

      "Tonight, Fulton County will report results for approximately 86,000
      absentee ballots, as well as Election Day and Early Voting results.
      These represent the vast majority of ballots cast within Fulton
      County.

      "As planned, Fulton County will continue to tabulate the remainder
      of absentee ballots over the next two days. Absentee ballot processing
      requires that each ballot is opened, signatures verified, and ballots
      scanned. This is a labor-intensive process that takes longer to
      tabulate than other forms of voting. Fulton County did not anticipate
      having all absentee ballots processed on Election Day." Officials said
      they will work to ensure every vote is counted and all laws and
      regulations are followed. 32




31
   “4,000 remaining absentee ballots being counted in Fulton County”, Fox 5 Atlanta,
November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-state-farm-arena-
delays-absentee-ballot-processing
32
    4,000 remaining absentee ballots being counted in Fulton County, Fox 5 Atlanta,
November 3, 2020, https://www.fox5atlanta.com/news/pipe-burst-at-state-farm-arena-
delays-absentee-ballot-processing
                                           57
                                      118.

      Plaintiffs have learned that the representation about “a water leak

affecting the room where absentee ballots were counted” was not true. The

only water leak that needed repairs at State Farm Arena from November 3 –

November 5 was a toilet overflow that occurred earlier on November 3. It

had nothing to do with a room with ballot counting, but the false water break

representation led to “everyone being sent home.” Nonetheless, first six (6)

people, then three (3) people stayed until 1:05 a.m. working on the

computers.

                                      119.

      An Affiant recounts how she was present at State Farm Arena on

November 3, and saw election workers remaining behind after people were

told to leave. (See Exh. 28, Affidavit of Mitchell Harrison; Exh. 29, Affid. of

Michelle Branton)

                                      120.

      Plaintiffs have also learned through several reports that in 2010 Eric

Coomer joined Dominion as Vice President of U.S. Engineering. According to

his bio, Coomer graduated from the University of California, Berkeley with a

Ph.D. in Nuclear Physics. Eric Coomer was later promoted to Voting Systems

Officer of Strategy and Security although Coomer has since been removed

from the Dominion page of directors. Dominion altered its website after

                                       58
Colorado resident Joe Oltmann disclosed that as a reporter he infiltrated

ANTIFA, a domestic terrorist organization where he recorded Eric Coomer

representing: “Don’t worry. Trump won’t win the election, we fixed that.” – as

well as social media posts with violence threatened against President Trump.

(See Joe Oltmann interview with Michelle Malkin dated November 13, 2020

which contains copies of Eric Coomer’s recording and tweets). 33

                                           121.

       While the bedrock of American elections has been transparency, almost

every crucial aspect of Georgia’s November 3, 2020, General Election was

shrouded in secrecy, rife with “errors,” and permeated with anomalies so

egregious as to render the results incapable of certification.

   MULTIPLE EXPERT REPORTS AND STATISTICAL
ANALYSES PROVE HUNDREDS OF THOUSANDS OF VOTES
WERE LOST OR SHIFTED THAT COST PRESIDENT TRUMP
      AND THE REPUBLICAN CANDIDATES OF
  CONGRESSIONAL DISTRICTS 6 AND 7 THEIR RACES.

                                           122.

       As evidenced by numerous public reports, expert reports, and witness

statements, Defendants egregious misconduct has included ignoring

legislative mandates concerning mail-in and ordinary ballots and led to


33 Malkin Live: Election Update, Interview of Joe Oltmann, by Michelle Malkin, November 13,
2020, available at:
https://www.youtube.com/watch?v=dh1X4s9HuLo&fbclid=IwAR2EaJc1M9RT3DaUraAjsycM
0uPKB3uM_-MhH6SMeGrwNyJ3vNmlcTsHxF4

                                            59
disenfranchisement of an enormous number of Georgia voters. Plaintiffs

experts can show that, consistent with the above specific misrepresentations,

analysis of voting data reveals the following:


            (a)   Regarding uncounted mail ballots, based on evidence

      gathered by Matt Braynard in the form of recorded calls and

      declarations of voters, and analyzed by Plaintiff’s expert, Williams M.

      Briggs, PhD, shows, based on a statistically significant sample, that

      the total number of mail ballots that voters mailed in, but were

      never counted, have a 95% likelihood of falling between 31,559

      and 38,886 total lost votes. This range exceeds the margin of loss of

      President Trump of 12,670 votes by at least 18,889 lost votes and by as

      many as 26,196 lost votes. (See Exh. 1, Dr. Briggs’ Report, with

      attachments).

            (b)   Plaintiff’s expert also finds that voters received tens of

      thousands of ballots that they never requested.          (See Exh. 1).

      Specifically, Dr. Briggs found that in the state of Georgia, based on a

      statistically significant sample, the expected amount of persons that

      received an absentee ballot that they did not request ranges from

      16,938 to 22,771. This range exceeds the margin of loss of




                                      60
President Trump by 12,670 votes by at least 4,268 unlawful

requests and by as many as 10,101 unlawful requests. Id.

      (c)   This widespread pattern, as reflected within the population

of unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable

reality that, in addition to the calculations herein, third parties voted

an untold number of unlawfully acquired absentee or mail-in ballots,

which would not be in the database of unreturned ballots analyzed

here. See O.G.C.A. 21-2-522. These unlawfully voted ballots

prohibited properly registered persons from voting and reveal

a pattern of widespread fraud down ballot as well.


      (d)   Further, as calculated by Matt Braynard, there exists

clear evidence of 20,311 absentee or early voters in Georgia that

voted while registered as having moved out of state. (See Id.,

attachment to report). Specifically, these persons were showing on the

National Change of Address Database (NCOA) as having moved, or as

having filed subsequent voter registration in another state also as

evidence that they moved and even potentially voted in another state.

The 20,311 votes by persons documented as having moved exceeds the

margin by which Donald Trump lost the election by 7,641 votes.




                                 61
   (e)   Applying pro-rata the above calculations separately to Cobb

   County based on the number of unreturned ballots, a range of 1,255

   and 1,687 ballots ordered by 3rd parties and a range of 2,338 and 2,897

   lost mail ballots, plus 10,684 voters documented in the NCOA as

   having moved, for a combined minimum of 14,276 missing and

   unlawful ballots, and maximum of 15,250 missing and unlawful

   ballots, which exceeds the statewide Presidential race total

   margin by a range of as few as 1,606 ballots and as many as

   2,580 in the County of Cobb alone impacting the Cobb County

   Republican Party (“Cobb County Republicans”).


                                   123.

As seen from the expert analysis of Eric Quinnell, mathematical

anomalies further support these findings, when in various districts within

Fulton County such as vote gains that exceed reasonable expectations

when compared to 2016, and a failure of gains to be normally distributed

but instead shifting substantially toward the tail of the distribution in

what is known as a platykurtic distribution. Dr. Quinell identifies

numerous anomalies such as votes to Biden in excess of 2016 exceed the

registrations that are in excess of 2016. Ultimately, he identifies the

counties in order of their excess performance over what would have fit in a


                                    62
  normal distribution of voting gains, revealing a list of the most anomalous

  counties down to the least. These various anomalies provide evidence of

  voting irregularities. (See Exh.27, Declaration of Eric Quinnell, with

  attachments).

                                     124.

      In sum, with the expert analysis of William M. Briggs PhD based on

recorded calls and declarations, the extent of missing AND unlawfully

requested ballots create substantial evidence that the mail ballot system has

fundamentally failed to provide a fair voting mechanism. In short, tens of

thousands of votes did not count while the pattern of fraud makes clear that

tens of thousands were improperly counted. This margin of victory in the

election for Mr. Biden was only 12,670 and cannot withstand most of these

criticisms individually and certainly not in aggregate.

                                     125.

      Cobb county, based on lost votes, unlawfully requested votes and

NCOA data on these facts alone would consume more than the entire margin

of the statewide difference in the Presidential race. These election results

must be reversed.

                                     126.

      Applying pro-rata the above calculations separately to Cobb County

based on the number of unreturned ballots, a range of 1,255 and 1,687 ballots

                                      63
ordered by 3rd parties and a range of 2,338 and 2,897 lost mail ballots, plus

10,684 voters documented in the NCOA as having moved, for a combined

minimum of 14,276 missing and unlawful ballots, and maximum of

15,250 missing and unlawful ballots, which exceeds the statewide

Presidential race total margin by a range of as few as 1,606 ballots

and as many as 2,580 in the County of Cobb alone impacting the

Cobb County Republican Party (“Cobb County Republicans”). (See

Exh. 1).

                                           127.

       Mr. Braynard also found a pattern in Georgia of voters registered at

totally fraudulent residence addresses, including shopping centers, mail drop

stores and other non-residential facilities 34.

                                           128.

       In sum, with the expert analysis of William M. Briggs PhD based on

extensive investigation, recorded calls and declarations collected by Matt

Braynard, (See attachments to Exh. 1, Briggs’ report) the extent of missing

and unlawfully requested ballots create substantial evidence that the mail

ballot system has fundamentally failed to provide a fair voting mechanism. In


34
   Matt Braynard, https://twitter.com/MattBraynard/status/1331324173910761476;
https://twitter.com/MattBraynard/status/1331299873556086787?s=20; (a)
         https://twitter.com/MattBraynard/status/1331299873556086787?s=20


                                            64
short, tens of thousands of votes did not count while the pattern of fraud and

mathematical anomalies that are impossible absent malign human agency

makes clear that tens of thousands were improperly counted. This margin of

victory in the election for Mr. Biden was only 12,670 and cannot withstand

most of these criticisms individually and certainly not in aggregate.

                                      129.

      Cobb county, based on lost votes, unlawfully requested votes and

NCOA data on these facts alone would consume more than the entire margin

of the statewide difference in the Presidential race.

                                      130.

      Russell Ramsland confirms that data breaches in the Dominion

software permitted rogue actors to penetrate and manipulate the

software during the recent general election. He further concludes

that at least 96,600 mail-in ballots were illegally counted as they

were not cast by legal voters.

                                      131.

      In sum, as set forth above, for a host of independent reasons, the

Georgia certified election results concluding that Joe Biden received 12,670

more votes that President Donald Trump must be set aside.




                                       65
                                  COUNT I


D E F E N D A N T S VIOLATED T H E E L E C T I O N S C L A U S E A N D 42 U.S.C. §
                                     1983

                                      132.

      Plaintiffs reallege all preceding paragraphs as if fully set forth herein.

                                      133.

      The Electors Clause states that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct, a Number of Electors” for

President. Art. II, § 1, cl. 2 (emphasis added). Likewise, the Elections Clause

of the U.S. Constitution states that “[t]he Times, Places, and Manner of

holding Elections for Senators and Representatives, shall be prescribed in

each State by the Legislature thereof.” Art. I, § 4, cl. 1 (emphasis added).

                                      134.

      The Legislature is “‘the representative body which ma[kes] the laws of

the people.’” Smiley, 285 U.S. at 193. Regulations of congressional and

presidential elections, thus, “must be in accordance with the method which

the state has prescribed for legislative enactments.” Id. at 367; see also Ariz.

State Legislature v. Ariz. Indep. Redistricting Comm’n, 135 S. Ct. 2652, 2668

(2015).




                                       66
                                      135.

      Defendants are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to “tak[ing] care that

the laws be faithfully executed.” Pa. Const. Art. IV, § 2. Because the United

States Constitution reserves for the General Assembly the power to set the

time, place, and manner of holding elections for the President and Congress,

county boards of elections and state executive officers have no authority to

unilaterally exercise that power, much less to hold them in ways that conflict

with existing legislation.

                                      136.

      Defendants are not the legislature, and their unilateral decision to

create a “cure procedure” violates the Electors and Elections Clauses of the

United States Constitution.

                                      137.

      The Secretary of State and the State Election Board are not the

legislature, and their decision to permit early processing of absentee ballots

in direct violation of the unambiguous requirements of O.C.G.A. § 21-2-

386(a)(2) violates the Electors and Elections Clauses of the United States

Constitution.




                                      67
                                      138.

      Many Affiants testified to many legal infractions in the voting process,

including specifically switching absentee ballots or mail-in ballots for Trump

to Biden. Even a Democrat testified in his sworn affidavit that before he was

forced to move back to where he could not see, he had in fact seen, “I also saw

absentee ballots for Trump inserted into Biden’s stack, and counted as Biden

votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                      139.

      Plaintiff’s expert also finds that voters received tens of thousands of

ballots that they never requested. (See Exh. 1, Dr. Briggs’ Report).

Specifically, Dr. Briggs found that in the state of Georgia, based on a

statistically significant sample, the expected amount of persons that received

an absentee ballot that they did not request one ranges from 16,938 to

22,771. This range exceeds the margin of loss of President Trump by 12,670

votes by at least 4,268 unlawful requests and by as many as 10,101 unlawful

requests.

                                      140.

      This widespread pattern, as reflected within the population of

unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable reality

that, in addition to the calculations herein, third parties voted an untold

number of unlawfully acquired absentee or mail-in ballots, which would not

                                       68
be in the database of unreturned ballots analyzed here. See O.G.C.A. 21-2-

522. These unlawfully voted ballots prohibited properly registered persons

from voting and reveal a pattern of widespread fraud.

                                     141.

      Further, as shown by data collected by Matt Braynard, there exists

clear evidence of 20,311 absentee or early voters in Georgia that voted while

registered as having moved out of state. Specifically, these persons were

showing on the National Change of Address Database (NCOA) as having

moved, or as having filed subsequent voter registration in another state also

as evidence that they moved and even potentially voted in another state. The

20,311 votes by persons documented as having moved exceeds the margin by

which Donald Trump lost the election by 7,641 votes.

                                     142.

      Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.

Defendants have acted and, unless enjoined, will act under color of state law

to violate the Elections Clauses of the Constitution. Accordingly, the results

for President and Congress in the November 3, 2020 election must be set

aside. The results are infected with Constitutional violations.

                                 COUNT II



                                      69
 THE SECRETARY OF STATE AND GEORGIA COUNTIES VIOLATED
 T H E F O U R T E E N T H A M E N D M E N T U.S. C O N S T . A M E N D . XIV, 42
                                 U.S.C. § 1983

                    DENIAL OF EQUAL PROTECTION

          INVALID ENACTMENT OF REGULATIONS AFFECTING
          OBSERVATION AND MONITORING OF THE ELECTION

                                      143.

      Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length

herein.

                                      144.

      The Fourteenth Amendment of the United States Constitution provides

“nor shall any state deprive any person of life, liberty, or property, without

due process of law; nor deny to any person within its jurisdiction the equal

protection of the laws. See also Bush v. Gore, 531 U.S. 98, 104 (2000)(having

once granted the right to vote on equal terms, the State may not, by later

arbitrary and disparate treatment, value one person’s vote over the value of

another’s). Harper v. Virginia Board of Elections, 383 U.S. 663, 665 (1966)

(“Once the franchise is granted to the electorate, lines may not be drawn

which are inconsistent with the Equal Protection Clause of the Fourteenth

Amendment.”).




                                       70
                                      145.

      The Court has held that to ensure equal protection, a “problem inheres

in the absence of specific standards to ensure its equal application. The

formulation of uniform rules to determine intent based on these recurring

circumstances is practicable and, we conclude, necessary.” Bush v. Gore, 531

U.S. 98, 106, 121 S. Ct. 525, 530, 148 L. Ed. 2d 388 (2000).

                                      146.

      The equal enforcement of election laws is necessary to preserve our

most basic and fundamental rights. The requirement of equal protection is

particularly stringently enforced as to laws that affect the exercise of

fundamental rights, including the right to vote.

                                      147.

      In statewide and federal elections conducted in the State of Georgia,

including without limitation the November 3, 2020, General Election, all

candidates, political parties, and voters, including without limitation

Plaintiffs, have a vested interest in being present and having meaningful

access to observe and monitor the electoral process in each County to ensure

that it is properly administered in every election district and otherwise free,

fair, and transparent.




                                       71
                                      148.

      Moreover, through its provisions involving watchers and

representatives, the Georgia Election Code ensures that all candidates and

political parties in each County, including the Trump Campaign, have

meaningful access to observe and monitor the electoral process to ensure that

it is properly administered in every election district and otherwise free, fair,

and transparent. See, e.g. In plain terms, the statute clearly prohibits

opening absentee ballots prior to election day, while the rule authorizes doing

so three weeks before election day. There is no reconciling this conflict. The

State Election Board has authority under O.C.G.A. § 21-2-31 to adopt lawful

and legal rules and regulations, but no authority to promulgate a regulation

that is directly contrary to an unambiguous statute. Rule 183-1-14-0.9-.15 is

therefore plainly and indisputably unlawful.




                                       72
   Plaintiffs also bring this action under Georgia law, O.C.G.A. § 21-2-522,

   Grounds for Contest:

                                       149.

   A result of a primary or election may be contested on one or more of the

   following grounds:

                                       150.

   (1) Misconduct, fraud, or irregularity by any primary or election official or

   officials sufficient to change or place in doubt the result;

  (2) When the defendant is ineligible for the nomination or office in dispute;

  (3) When illegal votes have been received or legal votes rejected at the polls

  sufficient to change or place in doubt the result;

  (4) For any error in counting the votes or declaring the result of the

  primary or election, if such error would change the result; or

  (5) For any other cause which shows that another was the person legally

  nominated, elected, or eligible to compete in a run-off primary or election.

  O.C.G.A. § 21-2-522.

                                       151.

      Several affiants testified to the improper procedures with absentee

ballots processing, with the lack of auditable procedures with the logs in the

computer systems, which violates Georgia law, and federal election law. See



                                        73
also, 50 U.S.C. § 20701 requires the retention and preservation of records and

papers by officers of elections under penalty of fine and imprisonment.

                                      152.

      The State Election Board re-adopted Rule 183-1-14-0.9-.15 on

November 23, 2020 for the upcoming January 2021 runoff election.

                                      153.

      A large number of ballots were identical and likely fraudulent. An

Affiant explains that she observed a batch of utterly pristine ballots:

      14. Most of the ballots had already been handled; they had been
      written on by people, and the edges were worn. They showed obvious
      use. However, one batch stood out. It was pristine. There was a
      difference in the texture of the paper - it was if they were intended
      for absentee use but had not been used for that purposes. There was
      a difference in the feel.

      15. These different ballots included a slight depressed pre-fold so
      they could be easily folded and unfolded for use in the scanning
      machines. There were no markings on the ballots to show where they
      had com~ from, or where they had been processed. These stood out.

      16. In my 20 years of experience of handling ballots, I observed that
      the markings for the candidates on these ballots were unusually
      uniform, perhaps even with a ballot-marking device. By my estimate
      in observing these ballots, approximately 98% constituted votes for
      Joe Biden. I only observed two of these ballots as votes for President
      Donald J. Trump.” (See Exh. 15).

                                      154.

      The same Affiant further testified specifically to the breach of the chain

of custody of the voting machines the night before the election stating:



                                       74
      we typically receive the machines, the ballot marking devices – on
      the Friday before the election, with a chain of custody letter to be
      signed on Sunday, indicating that we had received the machines and
      the counts on the machines when received, and that the machines
      have been sealed. In this case, we were asked to sign the chain
      of custody letter on Sunday, even though the machines were
      not delivered until 2:00 AM in the morning on Election Day.
      The Milton precinct received its machines at 1:00 AM in the morning
      on Election Day. This is unacceptable and voting machines should
      [not] be out of custody prior to an Election Day. Id.



                                       155.

      Defendants have a duty to treat the voting citizens in each County in

the same manner as the citizens in other counties in Georgia.

                                       156.

      As set forth in Count I above, Defendants failed to comply with the

requirements of the Georgia Election Code and thereby diluted the lawful

ballots of the Plaintiffs and of other Georgia voters and electors in violation of

the United States Constitution guarantee of Equal Protection.

                                       157.

      Specifically, Defendants denied the plaintiffs equal protection of the

law and their equal rights to meaningful access to observe and monitor the

electoral process enjoyed by citizens in other Georgia Counties by:

      (a) mandating that representatives at the pre-canvass and
      canvass of all absentee and mail-ballots be either Georgia barred



                                       75
      attorneys or qualified registered electors of the county in which
      they sought to observe and monitor;
      (b) not allowing watchers and representatives to visibly see and
      review all envelopes containing official absentee and mail-in
      ballots either at or before they were opened and/or when such
      ballots were counted and recorded; and
      (c) allowing the use of Dominion Democracy Suite software and
      devices, which failed to meet the Dominion Certification Report’s
      conditions for certification.
                                      158.

      Instead, Defendants refused to credential all of the Trump Republican’s

submitted watchers and representatives and/or kept Trump Campaign’s

watchers and representatives by security and metal barricades from the

areas where the inspection, opening, and counting of absentee and mail-in

ballots were taking place. Consequently, Defendants created a system

whereby it was physically impossible for the candidates and political parties

to view the ballots and verify that illegally cast ballots were not opened and

counted

                                      159.

      Many Affiants testified to switching absentee ballots or mail-in ballots

for Trump to Biden, including a Democrat. He testified in his sworn

affidavit, that before he was forced to move back to where he could not see, he




                                      76
had in fact seen, “absentee ballots for Trump inserted into Biden’s stack, and

counted as Biden votes. This occurred a few times”. (See Exh. 18, Par. 12).

                                      160.

      Other Georgia county boards of elections provided watchers and

representatives of candidates and political parties, including without

limitation watchers and representatives of the Republicans and the Trump

Campaign, with appropriate access to view the absentee and mail-in ballots

being pre-canvassed and canvassed by those county election boards and

without restricting representatives by any county residency or Georgia bar

licensure requirements.

                                      161.

      Defendants intentionally and/or arbitrarily and capriciously denied

Plaintiffs access to and/or obstructed actual observation and monitoring of

the absentee and mail-in ballots being pre-canvassed and canvassed by

Defendants, depriving them of the equal protection of those state laws

enjoyed by citizens in other Counties.

                                      162.

      Defendants have acted and will continue to act under color of state law

to violate Plaintiffs’ right to be present and have actual observation and

access to the electoral process as secured by the Equal Protection Clause of

the United States Constitution.

                                         77
                                        163.

        Defendants further violated Georgia voters’ rights to equal protection

insofar as Defendants allowed the Georgia counties to process and count

ballots in a manner that allowed ineligible ballots to be counted, and through

the use of Dominion Democracy Suite, allowed eligible ballots for Trump and

McCormick to be switched to Biden or lost altogether. Defendants thus failed

to conduct the general election in a uniform manner as required by the Equal

Protection Clause of the Fourteenth Amendment and the Georgia Election

Code.

                                        164.

        Plaintiffs seek declaratory and injunctive relief holding that the

election, under these circumstances, was improperly certified and that the

Governor be enjoined from transmitting Georgia’s certified Presidential

election results to the Electoral College. Georgia law forbids certifying a tally

that includes any ballots that were not legally cast, or that were switched

from Trump to Biden, through the unlawful use of Dominion Democracy

Suite software and devices.

                                        165.

        Alternatively, Plaintiffs seek declaratory and injunctive relief holding

that the election, under these circumstances, was improperly certified and

that the Governor be required to recertify the results declaring that Donald

                                        78
Trump has won the election and transmitting Georgia’s certified Presidential

election result in favor of President Trump.

                                      166.

      Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the declaratory and injunctive relief requested

herein is granted. Indeed, the setting aside of an election in which the people

have chosen their representative is a drastic remedy that should not be

undertaken lightly, but instead should be reserved for cases in which a

person challenging an election has clearly established a violation of election

procedures and has demonstrated that the violation has placed the result of

the election in doubt. Georgia law allows elections to be contested through

litigation, both as a check on the integrity of the election process and as a

means of ensuring the fundamental right of citizens to vote and to have their

votes counted accurately. O.C.G.A. § 21-2-520 et seq.

                                      167.

      In addition to the alternative requests for relief in the preceding

paragraphs, hereby restated, Plaintiffs seek a permanent injunction

requiring the County Election Boards to invalidate ballots cast by: 1) voters

whose signatures on their registrations have not been matched with ballot,

envelope and voter registration check; 2) all “dead votes”; and 4) all 900

military ballots in Fulton county that supposedly were 100% for Joe Biden.

                                       79
                                     COUNT III

  F O U R T E E N T H A M E N D M E N T E Q U A L P R O T E C T I O N C L A U S E U.S.
                   C O N S T . A M E N D . XIV, 42 U.S.C. § 1983

                           DENIAL OF DUE PROCESS

D I S P A R A T E T R E A T M E N T O F A B S E N T E E /M A I L -I N V O T E R S A M O N G
                               DIFFERENT COUNTIES

                                           168.

      Plaintiffs incorporate each of the prior allegations in this Complaint.

      Voting is a fundamental right protected by the Fourteenth Amendment

to the United States Constitution. The Fourteenth Amendment protects the

right to vote from conduct by state officials which seriously undermines the

fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,

889 (3d Cir. 1994); Griffin, 570 F.2d at 1077-78. “[H]aving once granted the

right to vote on equal terms, the State may not, by later arbitrary and

disparate treatment, value one person’s vote over that of another.” Bush, 531

U.S. at 104-05.

                                           169.

      Defendants are not part of the General Assembly and cannot exercise

legislative power. Rather, Defendants’ power is limited to executing the laws

as passed by the legislature Although the Georgia General Assembly may

enact laws governing the conduct of elections, “no legislative enactment may



                                            80
contravene the requirements of the Georgia or United States Constitutions.”

Shankey, 257 A. 2d at 898.

                                        170.

      Federal courts “possess broad discretion to fashion an equitable

remedy.” Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Engineers,

781 F.3d 1271, 1290 (11th Cir. 2015); Castle v. Sangamo Weston, Inc., 837

F.2d 1550, 1563 (11th Cir. 1988) (“The decision whether to grant equitable

relief, and, if granted, what form it shall take, lies in the discretion of the

district court.”).

                                        171.

      Moreover, “[t]o the extent that a voter is at risk for having his or her

ballot rejected due to minor errors made in contravention of those

requirements, … the decision to provide a ‘notice and opportunity to cure’

procedure to alleviate that risk is one best suited for the Legislature[,] . . .

particularly in light of the open policy questions attendant to that decision,

including what the precise contours of the procedure would be, how the

concomitant burdens would be addressed, and how the procedure would

impact the confidentiality and counting of ballots, all of which are best left to

the legislative branch of Georgia's government.” Id.




                                        81
                                       172.

      The disparate treatment of Georgia voters, in subjecting one class of

voters to greater burdens or scrutiny than another, violates Equal Protection

guarantees because “the right of suffrage can be denied by a debasement or

dilution of the weight of a citizen’s vote just as effectively as by wholly

prohibiting the free exercise of the franchise.” Reynolds, 377 U.S. at 555. Rice

v. McAlister, 268 Ore. 125, 128, 519 P.2d 1263, 1265 (1975); Heitman v.

Brown Grp., Inc., 638 S.W.2d 316, 319, 1982 Mo. App. LEXIS 3159, at *4 (Mo.

Ct. App. 1982); Prince v. Bear River Mut. Ins. Co., 2002 UT 68, ¶ 41, 56 P.3d

524, 536-37 (Utah 2002).

                                       173.

      Defendants are not the legislature, and their unilateral decision to

create and implement a cure procedure for some but not all absentee and

mail-in voters in this State violates the Due Process Clause of the United

States Constitution. Plaintiffs have no adequate remedy at law and will

suffer serious and irreparable harm unless the injunctive relief requested

herein is granted.




                                        82
                                     COUNT IV

 F O U R T E E N T H A M E N D M E N T , U.S. C O N S T . A R T . I § 4, C L . 1; A R T .
               II, § 1, C L . 2; A M E N D . XIV, 42 U.S.C. § 1983

          DENIAL OF DUE PROCESS ON THE RIGHT TO VOTE

                                          174.

      Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length

herein.

                                          175.

      The right of qualified citizens to vote in a state election involving

federal candidates is recognized as a fundamental right under the Fourteenth

Amendment of the United States Constitution. Harper, 383 U.S. at See also

Reynolds, 377 U.S. at 554 (The Fourteenth Amendment protects the “the

right of all qualified citizens to vote, in state as well as in federal elections.”).

Indeed, ever since the Slaughter-House Cases, 83 U.S. 36 (1873), the United

States Supreme Court has held that the Privileges or Immunities Clause of

the Fourteenth Amendment protects certain rights of federal citizenship from

state interference, including the right of citizens to directly elect members of

Congress. See Twining v. New Jersey, 211 U.S. 78, 97 (1908) (citing Ex parte

Yarbrough, 110 U.S. 651, 663-64 (1884)). See also Oregon v. Mitchell, 400

U.S. 112, 148-49 (1970) (Douglas, J., concurring) (collecting cases).



                                           83
                                       176.

      The fundamental right to vote protected by the Fourteenth Amendment

is cherished in our nation because it “is preservative of other basic civil and

political rights.” Reynolds, 377 U.S. at 562. Voters have a “right to cast a

ballot in an election free from the taint of intimidation and fraud,” Burson v.

Freeman, 504 U.S. 191, 211 (1992), and “[c]onfidence in the integrity of our

electoral processes is essential to the functioning of our participatory

democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam).

                                       177.

      “Obviously included within the right to [vote], secured by the

Constitution, is the right of qualified voters within a state to cast their ballots

and have them counted” if they are validly cast. United States v. Classic, 313

U.S. 299, 315 (1941). “[T]he right to have the vote counted” means counted

“at full value without dilution or discount.” Reynolds, 377 U.S. at 555, n.29

(quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).

                                       178.

      “Every voter in a federal . . . election, whether he votes for a candidate

with little chance of winning or for one with little chance of losing, has a right

under the Constitution to have his vote fairly counted, without its being

distorted by fraudulently cast votes.” Anderson v. United States, 417 U.S.

211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962). Invalid or

                                        84
fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote.

See Anderson, 417 U.S. at 227.

                                       179.

      The right to an honest [count] is a right possessed by each voting

elector, and to the extent that the importance of his vote is nullified, wholly

or in part, he has been injured in the free exercise of a right or privilege

secured to him by the laws and Constitution of the United States.” Anderson,

417 U.S. at 226 (quoting Prichard v. United States, 181 F.2d 326, 331 (6th

Cir.), aff'd due to absence of quorum, 339 U.S. 974 (1950)).

                                       180.

      Practices that promote the casting of illegal or unreliable ballots or fail

to contain basic minimum guarantees against such conduct, can violate the

Fourteenth Amendment by leading to the dilution of validly cast ballots. See

Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as

by wholly prohibiting the free exercise of the franchise.”).

                                       181.

      In Georgia, the signature verification requirement is a dead letter. The

signature rejection rate for the most recent election announced by the

Secretary of State was 0.15%. The signature rejection rate for absentee ballot

applications was .00167% - only 30 statewide. Hancock County, Georgia,

                                        85
population 8,348, rejected nine absentee ballot applications for signature

mismatch. Fulton County rejected eight. No other metropolitan county in

Georgia rejected even a single absentee ballot application for signature

mismatch. The state of Colorado, which has run voting by mail for a number

of years, has a signature rejection rate of between .52% and .66%. 35 The State

of Oregon had a rejection rate of 0.86% in 2016. 36 The State of Washington

has a rejection rate of between 1% and 2%. 37If Georgia rejected absentee

ballots at a rate of .52% instead of the actual .15%, approximately 4,600 more

absentee ballots would have been rejected.

                                       COUNT V

               T H E R E W A S W I D E -S P R E A D B A L L O T F R A U D .

                                   OCGA 21-2-522

                                            182.

       Plaintiffs refer to and incorporate by reference each of the prior

paragraphs of this Complaint as though the same were repeated at length

herein.




35
   See https://duckduckgo.com/?q=colorado+signature+rejection+rate&t=osx&ia=web last
visited November 25,2020
36
   See https://www.vox.com/21401321/oregon-vote-by-mail-2020-presidential-election, last
visited November 25,2020.
37
   See https://www.salon.com/2020/09/08/more-than-550000-mail-ballots-rejected-so-far-heres-
how-to-make-sure-your-vote-gets-counted/ last visited November 25, 2020.
                                             86
                                       183.

      Plaintiffs contest the results of Georgia’s election, with Standing

conferred under pursuant to O.G.C.A. 21-2-521.

                                       184.

      Therefore, pursuant to O.G.C.A. 21-2-522, for misconduct, fraud, or

irregularity by any primary or election official or officials sufficient to change

or place in doubt the result. The foundational principle that Georgia law

“nonetheless allows elections to be contested through litigation, both as a

check on the integrity of the election process and as a means of ensuring the

fundamental right of citizens to vote and to have their votes counted

accurately.” Martin v. Fulton County Bd. of Registration & Elections, 307 Ga.

193, 194, 835 S.E.2d 245, 248 (2019). The Georgia Supreme Court has made

clear that Plaintiffs need not show how the [] voters would have voted if their

[absentee] ballots had been regular. [] only had to show that there were

enough irregular ballots to place in doubt the result.” See OCGA § 21-2-520 et

seq., Mead v. Sheffield, 278 Ga. 268, 272, 601 S.E.2d 99, 102 (1994) the

Supreme Court invalidated an election, and ordered a new election because it

found that,

      Thus, [i]t was not incumbent upon [the Plaintiff] to show how the
      [481] voters would have voted if their [absentee] ballots had
      been regular. He only had to show that there were enough irregular
      ballots to place in doubt the result. He succeeded in that task.


                                        87
Id. at 271 (citing Howell v. Fears, 275 Ga. 627, 571 SE2d 392, (2002) (primary

results invalid where ballot in one precinct omitted names of both qualified

candidates).

                                       185.

      The "glitches" in the Dominion system—that seem to have the uniform

effect of hurting Trump and helping Biden have been widely reported in the

press and confirmed by the analysis of independent experts.

                                       186.

      Prima facie evidence in multiple affidavits shows specific fraudulent

acts, which directly resulted in the flipping of the race at issue:


   a) votes being switched in Biden’s favor away from Trump during the

      recount;

   b) the lack of procedures in place to follow the election code, and the

      purchase and use, Dominion Voting System despite evidence of serious

      vulnerabilities;

   c) a demonstration that misrepresentations were made about a pipe burst

      that sent everyone home, while first six, then three, unknown

      individuals were left alone until the morning hours working on the

      machines;




                                        88
   d) further a failure to demonstrate compliance with the Georgia’s Election

      Codes, in maintaining logs on the Voting system for a genuine and

      sound audit, other than voluntary editable logs that prevent genuine

      audits. While the bedrock of this Democratic Republic rests on citizens’

      confidence in the validity of our elections and a transparent process,

      Georgia’s November 3, 2020 General Election remains under a pall of

      corruption and irregularity that reflects a pattern of the absence of

      mistake. At best, the evidence so far shows ignorance of the truth; at

      worst, it proves a knowing intent to defraud.


                                      187.

      Plaintiff’s expert also finds that voters received tens of thousands of

ballots that they never requested. (See Exh. 1, Dr. Briggs’ Report).

Specifically, Dr. Briggs found that in the state of Georgia, based on a

statistically significant sample, the expected amount of persons that received

an absentee ballot that they did not request ranges from 16,938 to

22,771. This range exceeds the margin of loss of President Trump by 12,670

votes by at least 4,268 unlawful requests and by as many as 10,101 unlawful

requests.




                                       89
                                      188.

      This widespread pattern, as reflected within the population of

unreturned ballots analyzed by Dr. Briggs, reveals the unavoidable reality

that, in addition to the calculations herein, third parties voted an untold

number of unlawfully acquired absentee or mail-in ballots, which would not

be in the database of unreturned ballots analyzed here. See O.G.C.A. 21-2-

522. These unlawfully voted ballots prohibited properly registered persons

from voting and reveal a pattern of widespread fraud.

                                      189.

      Further, there exists clear evidence of 20,311 absentee or early voters

in Georgia that voted while registered as having moved out of state.

Specifically, these persons were showing on the National Change of Address

Database (NCOA) as having moved, or as having filed subsequent voter

registration in another state also as evidence that they moved and even

potentially voted in another state. The 20,311 votes by persons documented

as having moved exceeds the margin by which Donald Trump lost the

election by 7,641 votes.

                                      190.

      Plaintiffs’’ expert Russell Ramsland concludes that at least 96,600

mail-in ballots were fraudulently cast. He further concludes that up to



                                       90
136,098 ballots were illegally counted as a result of improper manipulation of

the Dominion software. (Ramsland Aff).

                                      191.

      The very existence of absentee mail in ballots created a heightened

opportunity for fraud. The population of unreturned ballots analyzed by

William Briggs, PhD, reveals the probability that a far greater number of

mail ballots were requested by 3rd parties or sent erroneously to persons and

voted fraudulently, undetected by a failed system of signature verification.

The recipients may have voted in the name of another person, may have not

had the legal right to vote and voted anyway, or may have not received the

ballot at the proper address and then found that they were unable to vote at

the polls, except provisionally, due to a ballot outstanding in their name.

                                      192.

      When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these

unordered ballots may in fact have been improperly voted and also prevented

proper voting at the polls, the mail ballot system has clearly failed in the

state of Georgia and did so on a large scale and widespread basis. The size of

the voting failures, whether accidental or intentional, are multiples larger

than the margin of votes between the presidential candidates in the



                                       91
state. For these reasons, Georgia cannot reasonably rely on the results of the

mail vote.

                                        193.

      The right to vote includes not just the right to cast a ballot, but also the

right to have it fairly counted if it is legally cast. The right to vote is infringed

if a vote is cancelled or diluted by a fraudulent or illegal vote, including

without limitation when a single person votes multiple times. The Supreme

Court of the United States has made this clear in case after case. See, e.g.,

Gray v. Sanders, 372 U.S. 368, 380 (1963) (every vote must be “protected

from the diluting effect of illegal ballots.”); Crawford v. Marion Cnty. Election

Bd., 553 U.S. 181, 196 (2008) (plurality op. of Stevens, J.) (“There is no

question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.”); accord Reynolds v. Sims, 377 U.S.

533, 554-55 & n.29 (1964).

                                        194.

      Plaintiffs have no adequate remedy at law. As seen from the expert

analysis of William Higgs, PhD, based on actual voter data, tens of thousands

of votes did not count, and tens of thousands of votes were unlawfully

requested.




                                         92
                                      195.

      The Fourteenth Amendment Due Process Clause protects the right to

vote from conduct by state officials which seriously undermines the

fundamental fairness of the electoral process. Marks v. Stinson, 19 F.3d 873,

889 (3d Cir. 1994); Griffin v. Burns, 570 F.2d 1065, 1077-78 (1st Cir. 1978).

                                      196.

      Separate from the Equal Protection Clause, the Fourteenth

Amendment’s due process clause protects the fundamental right to vote

against “the disenfranchisement of a state electorate.” Duncan v. Poythress,

657 F.2d 691, 702 (5th Cir. 1981). “When an election process ‘reaches the

point of patent and fundamental unfairness,’ there is a due process

violation.” Florida State Conference of N.A.A.C.P. v. Browning, 522 F.3d

1153, 1183-84 (11th Cir. 2008) (quoting Roe v. Alabama, 43 F.3d 574, 580

(11th Cir.1995) (citing Curry v. Baker, 802 F.2d 1302, 1315 (11th Cir.1986))).

See also Griffin, 570 F.2d at 1077 (“If the election process itself reaches the

point of patent and fundamental unfairness, a violation of the due process

clause may be indicated and relief under § 1983 therefore in order.”); Marks

v. Stinson, 19 F.3d 873, 889 (3d Cir. 1994) (enjoining winning state senate

candidate from exercising official authority where absentee ballots were

obtained and cast illegally).



                                       93
                                       197.

      Part of courts’ justification for such a ruling is the Supreme Court’s

recognition that the right to vote and to free and fair elections is one that is

preservative of other basic civil and political rights. See Black, 209 F.Supp.2d

at 900 (quoting Reynolds, 377 U.S. at 561-62 (“since the right to exercise the

franchise in a free and unimpaired manner is preservative of other basic civil

and political rights, any alleged infringement of the right of citizens to vote

must be carefully and meticulously scrutinized.”)); see also Yick Wo v.

Hopkins, 118 U.S. 356, 370 (1886) (“the political franchise of voting … is

regarded as a fundamental political right, because [sic] preservative of all

rights.”).

                                       198.

      “[T]he right to vote, the right to have one’s vote counted, and the right

to have ones vote given equal weight are basic and fundamental

constitutional rights incorporated in the due process clause of the Fourteenth

Amendment to the Constitution of the United States.” Black, 209 F. Supp. 2d

at 900 (a state law that allows local election officials to impose different

voting schemes upon some portions of the electorate and not others violates

due process). “Just as the equal protection clause of the Fourteenth

Amendment prohibits state officials from improperly diluting the right to

vote, the due process clause of the Fourteenth amendment forbids state

                                        94
officials from unlawfully eliminating that fundamental right.” Duncan, 657

F.2d at 704. “Having once granted the right to vote on equal terms,

[Defendants] may not, by later arbitrary and disparate treatment, value one

person's vote over that of another.” Bush, 531 U.S. at 104-05.

                                      199.

      In statewide and federal elections conducted in the State of Georgia,

including without limitation the November 3, 2020 General Election, all

candidates, political parties, and voters, including without limitation

Plaintiffs, have a vested interest in being present and having meaningful

access to observe and monitor the electoral process to ensure that it is

properly administered in every election district and otherwise free, fair, and

transparent.

                                      200.

      Moreover, through its provisions involving watchers and

representatives, the Georgia Election Code ensures that all candidates and

political parties, including without limitation Plaintiff, Republicans, and the

Trump Campaign, shall be “present” and have meaningful access to observe

and monitor the electoral process to ensure that it is properly administered in

every election district and otherwise free, fair, and transparent.




                                       95
                                      201.

      Defendants have a duty to guard against deprivation of the right to

vote through the dilution of validly cast ballots by ballot fraud or election

tampering. Rather than heeding these mandates and duties, Defendants

arbitrarily and capriciously denied the Trump Campaign and Republicans

meaningful access to observe and monitor the electoral process by: (a)

mandating that representatives at the pre- canvass and canvass of all

absentee and mail-ballots be either Georgia barred attorneys or qualified

registered electors of the county in which they sought to observe and monitor;

and (b) not allowing watchers and representatives to visibly see and review

all envelopes containing official absentee and mail-in ballots either at the

time or before they were opened and/or when such ballots were counted and

recorded. Instead, Defendants refused to credential all of the Trump

Campaign’s submitted watchers and representatives and/or kept Trump

Campaign’s watchers and representatives by security and metal barricades

from the areas where the inspection, opening, and counting of absentee and

mail-in ballots were taking place. The lack of meaningful access with actual

access to see the ballots invited further fraud and cast doubt of the validity of

the proceedings.




                                       96
                                      202.

      Consequently, Defendants created a system whereby it was physically

impossible for the candidates and political parties to view the ballots and

verify that illegally cast ballots were not opened and counted.

                                      203.

Defendants intentionally and/or arbitrarily and capriciously denied Plaintiffs

access to and/or obstructed actual observation and monitoring of the absentee

and mail-in ballots being pre-canvassed and canvassed by Defendants, and

included the unlawfully not counting and including uncounted mail ballots,

and that they failed to follow absentee ballot requirements when thousands

of voters received ballots that they never requested. Defendants have

acted and will continue to act under color of state law to violate the right to

vote and due process as secured by the Fourteenth Amendment to the United

States Constitution.

                                      204.

      Plaintiffs have no adequate remedy at law and will suffer serious and

irreparable harm unless the injunctive relief requested herein is granted.



                                      205.

      When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these

                                       97
unordered ballots may in fact have been improperly voted and also prevented

proper voting at the polls, the mail ballot system has clearly failed in the

state of Georgia and did so on a large scale and widespread basis. The size of

the voting failures, whether accidental or intentional, are multiples larger

than the margin in the state. For these reasons, Georgia cannot reasonably

rely on the results of the mail vote.

                                        206.

      Relief sought is the elimination of the mail ballots from counting in the

2020 election. Alternatively, the Presidential electors for the state of Georgia

should be disqualified from counting toward the 2020 election.

                                        207.

      The United States Code (3 U.S.C. 5) provides that,

      “[i]f any State shall have provided, by laws enacted prior to the day
      fixed for the appointment of the electors, for its final determination
      of any controversy or contest concerning the appointment of all or
      any of the electors of such State, by judicial or other methods or
      procedures, and such determination shall have been made at least
      six days before the time fixed for the meeting of the electors, such
      determination made pursuant to such law so existing on said day,
      and made at least six days prior to said time of meeting of the
      electors, shall be conclusive, and shall govern in the counting of the
      electoral votes as provided in the Constitution, and as hereinafter
      regulated, so far as the ascertainment of the electors appointed by
      such State is concerned.

3 USCS § 5.




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                         REQUEST FOR RELIEF

                                       208.

      Accordingly, Plaintiffs seek an emergency order instructing

Defendants to de-certify the results of the General Election for the Office of

President.

                                       209.

      In the alternative, Plaintiffs seek an emergency order prohibiting

Defendants from including in any certified results from the General Election

the tabulation of absentee and mailing ballots which do not comply with the

Election Code, including, without limitation, the tabulation of absentee and

mail-in ballots Trump Campaign’s watchers were prevented from observing

or based on the tabulation of invalidly cast absentee and mail-in ballots

which (i) lack a secrecy envelope, or contain on that envelope any text, mark,

or symbol which reveals the elector’s identity, political affiliation, or

candidate preference, (ii) do not include on the outside envelope a completed

declaration that is dated and signed by the elector, or (iii) are delivered in-

person by third parties for non-disabled voters.

                                       210.

      When we consider the harm of these uncounted votes, and ballots not

ordered by the voters themselves, and the potential that many of these

unordered ballots may in fact have been improperly voted and also prevented

                                        99
proper voting at the polls, the mail ballot system has clearly failed in the

state of Georgia and did so on a large scale and widespread basis. The size of

the voting failures, whether accidental or intentional, are multiples larger

than the margin in the state. For these reasons, Georgia cannot reasonably

rely on the results of the mail vote. Relief sought is the elimination of the

mail ballots from counting in the 2020 election. Alternatively, the electors for

the state of Georgia should be disqualified from counting toward the 2020

election. Alternatively, the electors of the State of Georgia should be directed

to vote for President Donald Trump.

                                      211.

      For these reasons, Plaintiff asks this Court to enter a judgment in

their favor and provide the following emergency relief:


      1. An order directing Governor Kemp, Secretary Raffensperger and the

         Georgia State Board of Elections to de-certify the election results;


      2. An order enjoining Governor Kemp from transmitting the currently

         certified election results to the Electoral College;


      3. An order requiring Governor Kemp to transmit certified election

         results that state that President Donald Trump is the winner of the

         election;



                                       100
4. An immediate order to impound all the voting machines and

   software in Georgia for expert inspection by the Plaintiffs.


5. An order that no votes received or tabulated by machines that were

   not certified as required by federal and state law be counted.


6. A declaratory judgment declaring that Georgia Secretary of State

   Rule 183-1-14-0.9-.15 violates the Electors and Elections Clause,

   U.S. CONST. art. I, § 4;


7. A declaratory judgment declaring that Georgia’s failed system of

   signature verification violates the Electors and Elections Clause by

   working a de facto abolition of the signature verification

   requirement;


8. A declaratory judgment declaring that current certified election

   results violates the Due Process Clause, U.S. CONST. Amend. XIV;


9. A declaratory judgment declaring that mail-in and absentee ballot

   fraud must be remedied with a Full Manual Recount or statistically

   valid sampling that properly verifies the signatures on absentee

   ballot envelopes and that invalidates the certified results if the

   recount or sampling analysis shows a sufficient number of ineligible

   absentee ballots were counted;

                                101
     10.   An emergency declaratory judgment that voting machines be

        Seized and Impounded immediately for a forensic audit—by

        plaintiffs’ expects;


     11.   A declaratory judgment declaring absentee ballot fraud occurred

        in violation of Constitutional rights, Election laws and under state

        law;


     12.   A permanent injunction prohibiting the Governor and Secretary

        of State from transmitting the currently certified results to the

        Electoral College based on the overwhelming evidence of election

        tampering;


     13.   Immediate production of 36 hours of security camera recording of

        all rooms used in the voting process at State Farm Arena in Fulton

        County, GA from 12:00am to 3:00am until 6:00pm on November 3.


     14.   Plaintiffs further request the Court grant such other relief as is

        just and proper, including but not limited to, the costs of this action

        and their reasonable attorney fees and expenses pursuant to 42

        U.S.C. 1988.



Respectfully submitted, this 25th day of November, 2020.


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